                             UNITED STATES BANKRUPTCY COURT
                               MIDDLE DISTRICT OF ALABAMA

In re


DEIGHAN LAW LLC fka LAW SOLUTIONS
CHICAGO LLC d/b/a UPRIGHT LAW, LLC and                                 Misc. Proc. 19-301-WRS
UPRIGHT LAW; UPRIGHT LAW LLC; MARI
MORRISON; GRADY CARDEN; and
CODY FOOTE,

        Respondents.


                                      MEMORANDUM DECISION


        This Miscellaneous Proceeding is before the Court to consider allegations levied against the

Respondents, Deighan Law LLC fka Law Solutions Chicago LLC d/b/a Upright Law, LLC and

Upright Law;1 Upright Law; Mari Morrison; Grady Carden; and Cody Foote by the Bankruptcy

Administrator.2 Sabrina McKinney, the Chapter 13 Trustee, and Carly Wilkins, the Chapter 7

Trustee, join this Miscellaneous Proceedings as interested parties. This is an exercise of this Court’s

authority to supervise the practice of law in bankruptcy cases in the Middle District of Alabama.




        1
           The lead Respondent of the Order to Show Cause is Law Solutions Chicago, LLC and is known as Upright
Law, LLC. In early 2019, Law Solutions Chicago changed its name to Deighan Law LLC. Doc. 48 (Transcript of
October 22, 2019, Hearing, pp. 26:16-27:8). In addition, Mari Morrison, Grady Carden, and Cody Foote, three Alabama
lawyers, are also named as Respondents. The Court will refer generally to the Respondents as Upright Law or Upright,
unless a more specific reference is needed.
        2
            The Complaint was filed by the former Bankruptcy Administrator, Teresa Jacobs. During the pendency of
these proceedings, Teresa Jacobs retired and has been replaced by successor Bankruptcy Administrator Daniel Greco.
All future references are to Danielle Greco.



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                                                         I. Jurisdiction


       This Court has jurisdiction to hear these matters pursuant to 28 U.S.C. § 1334(b) and the

District Court’s General Order of Reference date April 25, 1985. This is a core proceeding within

the meaning of 28 U.S.C. § 157(b)(2)(A). This is a final order.


                                                  II. Procedural History


       The procedural history of this Miscellaneous Proceeding, as well as the several adversary

proceedings and contested matters that gave rise to the Show Cause Order that initiated this

Miscellaneous Proceeding, are involved. (Doc. 2). This Miscellaneous Proceeding came before the

Court for an evidentiary hearing for seven days between October 22, 2019 and October 31, 2019.

The evidentiary hearing was held pursuant to this Court’s Order to Show Cause dated May 30, 2019.



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(Doc. 2). This Court’s May 30, 2019 Show Cause Order was preceded by a Memorandum Decision

in Adv. Pro. 18-3046. Jacobs v. Law Solutions Chicago, LLC, Adv. Pro. 18-3046, 2018 WL

3954163 (Bankr. M.D. Ala. Aug. 13, 2018) (holding that this Court has the authority to regulate the

practice of law before it). The District Court denied Upright Law leave to appeal. No. 2:18-CV-

763-WKW, 2019 WL 919001, (M.D. Ala. Feb. 25, 2019).

        The Bankruptcy Administrator and the Chapter 13 Trustee filed several motions and

complaints in an effort to bring these issues before the Court. The complainants allege a large

number of practice violations committed by Upright Law while representing debtors in this Court,

resulting in sub-par representation of debtors in at least 87 bankruptcy cases in the Middle District

of Alabama.3 In the Show Cause Order, this Court has distilled the allegations into two primary

issues. First, the Court questions Upright Law’s business model. Upright does business throughout

the United States filing consumer bankruptcy cases through local lawyers, who they call “partners.”

The Court questions whether the local lawyers are, in fact, partners or whether they are hired on a

contract basis. The Court noted in the Show Cause Order that if they are not true partners a number

of consequences may follow: the contracts for representation of debtors may be invalid; improper

fee disclosures in violation of 11 U.S.C. § 329(a) and Fed. R. Bankr. P. Rule 2016(b) may have

occurred; Upright may have engaged in the unauthorized practice of law; and improper fee sharing

in violation of 11 U.S.C. § 504(b)(1) may have occurred. Second, the Court questions whether

Upright’s practice standards were below an acceptable threshold. The Court will address these two

issues separately.




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          The complainants have identified 87 bankruptcy cases in which they allege numerous practice violations.
A complete list of the 87 bankruptcy cases is attached as Appendix B.

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                                      III. Upright’s Business Model


        In filtering through the myriad of complaints made by the Bankruptcy Administrator, the

Court became concerned that Upright Law was not a true law firm, at least as that term is used in

Alabama, and that non-attorneys in Chicago and non-Alabama lawyers were practicing law in

bankruptcy cases filed in this district. Before addressing the 87 bankruptcy cases, the Court will

examine the structure of Upright Law and its relationship with the Alabama lawyers who it calls

“partners.”

        Upright Law is a limited liability company organized under the laws of the State of Illinois

and based in Chicago. It holds itself out as engaging in a professional business of representing

debtors in consumer bankruptcy cases. Upright employs 105 people in its Chicago office, none of

whom are Alabama lawyers. Instead, it relies on attorneys licensed in each state in which it

practices to file cases, including in Alabama.

        Upright Law has a sophisticated internet presence where it provides information to

individuals considering a bankruptcy filing. Prospective clients may interface with Upright

personnel by telephone or chat through their website. This interaction necessarily involves analysis

and the provision of legal advice by staff, the majority of whom are not licensed attorneys and are

certainly not Alabama lawyers. The goal is for Upright staff to “onboard” the client, take their

information, and populate Best Case bankruptcy forms.4 A retention agreement is generated and

payments are made by the debtors to Upright, in both Chapter 7 and Chapter 13 cases. The decision

to file a bankruptcy case, the selection of a chapter under which to file, the preparation of bankruptcy


         4
           Upright Law uses the Best Case bankruptcy software, which is by far the most popular software system in
use by bankruptcy lawyers in this district, and probably in the United States.

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statements, schedules, plans and the like are all the practice of law in Alabama. As such, these

functions should be performed by an Alabama lawyer or a properly trained and supervised staff

person under the direction of an Alabama lawyer.

       Upright then hires an Alabama lawyer to file the bankruptcy case and attend the Section 341

meeting of creditors. Upright contends that its Alabama lawyers are “partners” in Upright Law.

These attorneys are advertised on Upright’s website as partners of Upright. But, these attorneys

generally have their own separate law practices. These attorneys utilize a different CM/ECF case

filing password for their own practices, and a separate one for cases filed on behalf of Upright. The

local attorneys sign a limited partnership agreement that provides they have no right to participate

in the management of Upright and have no ownership interest or voting rights in the firm. Doc. 50

(Transcript of October 24, 2019, Hearing, pp. 56:10-57:15). Furthermore, Upright may unilaterally

modify the partnership agreement and the objection to or rejection of the modification results in

termination of the partnership. Doc. 50 (Transcript of October 24, 2019, Hearing, p. 57:16-25).

       All three Alabama lawyers named as Respondents in this Miscellaneous Proceeding, Mari

Morrison, Grady Carden, and Cody Foote, hold themselves out to be local “partners” of Upright

Law and have signed limited partnership agreements with Upright. It is significant to note that the

lawyers do not serve Upright exclusively. These lawyers all have established law practices which

are separate from Upright Law. Moreover, all three have represented clients, under their own

practice, independent of their activities with Upright Law.

       Under Upright’s business model and the terms of its partnership agreement, the local

Alabama lawyers are labeled as partners in the Upright law firm. While Alabama law does not

define what a law firm or a law practice is, FED. R. BANKR. P. Rule 9001(6) provides that “‘[f]irm’


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includes a partnership or professional corporation of attorneys or accountants.” However, as noted

above, these so-called “partners” have no right to engage in the management of the firm or control

the actions of either lawyers or non-lawyer staff in the Chicago office. As such, this Court finds the

local Alabama lawyers are not true partners and Upright is not an Alabama firm. The Court then

considers whether the Alabama lawyers are “regular associates” of Upright. FED. R. BANKR. P. Rule

9001(10) provides that “‘[r]egular associate’ means any attorney regularly employed by, associated

with, or counsel to an individual or firm.” 11 U.S.C. § 504(b)(1) provides in relevant part that “[a]

member, partner, or regular associate in a professional association, corporation, or partnership may

share compensation . . . with another member, partner, or regular associate in such association,

corporation, or partnership . . . .” As noted above, the Alabama lawyers maintain their separate law

practices and routinely file cases apart from the cases referred by Upright. In this Court’s

experience, this is quite unusual for one lawyer to have two competing law practices. This aspect

of the relationship alone is more consistent with notion that the three lawyers in question are hired

on a contract or “piece work” basis rather than being true partners or regular associates of Upright.

See In re Ferguson, No. 17-41615-JJR13, 2019 WL 1270451, at *4-5 (Bankr. N.D. Ala. Mar. 15,

2019) (considering “regular associate” under Rule 9001(10) as “associated with” and under §

504(b)(1) as a “regular associate in”); see also In re Kuykendall, 501 B.R. 311, 321 (Bankr. S.D.

Tex. 2013) (holding that a local Texas lawyer was not a regular associate of a Florida law firm

despite an agreement to the contrary because the Texas lawyer maintained an office separate from

the Florida firm and was a partner in a firm other than the Florida firm); In re Ferguson, 445 B.R.

744, 752 (Bankr. N.D. Tex. 2011) (holding fee sharing between attorneys sharing office space and

resources and regularly providing assistance in bankruptcy representations was improper because


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attorney was not a regular associate as required by § 504(b)(1)). As such, the Court finds the

Alabama lawyers are neither partners or regular associates of Upright. Furthermore, pursuant to 11

U.S.C. § 329(a) and FED. R. BANKR. P. Rule 2016(b), the attorneys were required to “file with the

[C]ourt a statement of the compensation paid or agreed to be paid” and to include “whether the

attorney has shared or agreed to share the compensation with any other entity.” 11 U.S.C. § 329(a);

FED. R. BANKR. P. Rule 2016(b). The attorneys and Upright failed to accurately comply with this

requirement. Therefore, in addition to improperly sharing fees pursuant to § 504(b)(1), the attorneys

and Upright violated § 329(a) and FED. R. BANKR. P. Rule 2016(b) by failing to make accurate fee

disclosures.

        The limited partnership agreement between the Alabama lawyers and Upright expressly

contemplates that personnel in the Chicago office will be practicing law in Alabama. See, Davis v.

Alabama State Bar, 676 So.2d 306 (Ala. 1996). Paragraph 2 of the partnership agreement provides,

in part, as follows:

        Firm shall be the initial point of contact for all new Client calls, and shall (i)
        schedule and confirm retention appointment, (ii) prepare intake forms, disclaimers
        and agreements for Clients to sign at a retention meeting, (iii) field all Client calls
        and creditor/opposing counsel calls, (iv) collect/process all Client payments;
        including fee payments and costs to be paid out of each Client’s trust account, (v)
        unless otherwise agreed with Partner in writing, prepare initial drafts of all legal
        documents to be filed with local courts in Partner’s jurisdiction, subject to Partner’s
        review, comment, revision and final approval, including bankruptcy petitions,
        schedules and forms, state court lawsuit pleadings and discovery
        documents/requests/ answers, and any and all other documents related in any way to
        representation of a Client in any of Firm’s legal matters. Client call shall be
        forwarded to Partner in the event that any such Client require state-specific legal
        advice or Client’s inquiry requires speaking directly with Partner.

Upright Exhibit 16. While many of these functions are performed by non-lawyer staff in this State,

the key difference is that in this case, the “partner” is nothing more than a hired hand, working off


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a piece-work basis, with no right or practical ability to supervise those doing the work.

         Additionally, paragraph 4(A) of the partnership agreement provides for the allocation of fees

between the firm and the Alabama lawyer. In the case of a Chapter 7 case, the Alabama lawyer is

paid 8% of the fee “in the event that Partner conducts the initial consultation and retention,” an

additional 7% “in the event that Partner reviews the final petition in person, as required by local

rules, with Client, signs the petition, and the petition is filed with Partner as attorney of record,” 5%

to attend the Section 341 meeting, and 5% if a discharge order is entered. (Upright Ex. 16). The

contract provision is remarkable for at least three reasons. First, for completing this working and

assuming this responsibility, the “partner” is paid only 20-25% of the fee, with the remaining 75-

80% going to Upright.5 Second, the contract contemplates that much of the intake, processing, and

drafting will be handled by someone other than the Alabama lawyer. Third, the contract breaks

down the legal services to be performed in a way that strikes one as unprofessional by setting

specified monetary percentages for various tasks performed: a certain percentage to file the petition,

a certain percentage to attend the 341 meeting, etc. It is similar to saying it costs so much to sew

on a sleeve, so much to darn a sock, and so much to hem the pants. It raises the question, who is

responsible for the whole suit?

         In reality, Upright is using the Alabama lawyers to paper over the unauthorized practice of

law conducted in the Chicago office. When considering cases involving the unauthorized practice

of law, bankruptcy courts must look to state law for guidance. In re Bachmann, 113 B.R. 769, 772

(Bankr. S.D. Fla. 1990) (citations omitted). Section 34-3-6(a) of the Alabama Code provides that


         5
            There are several different versions of the contract in evidence and there is testimony that the fee division
changed slightly at some point in time, in a way more favorable to the Alabama lawyers. The Court is surprised that such
a small percentage of the fee would be paid to the lawyer doing the work, with so much paid to the internet firm who
gets the lead.

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only individuals who “are regularly licensed have authority to practice law” in Alabama. ALA.

CODE. § 34-3-6(a). Section 34-3-6(b)(1) defines the practice of law as follows:

       Whoever:

               (1) In a representative capacity appears as an advocate or draws papers,
               pleadings, or documents, or performs any act in connection with proceedings
               pending or prospective before a court or a body, board, committee,
               commission, or officer constituted by law or having authority to take
               evidence in or settle or determine controversies in the exercise of the judicial
               power of the state or any subdivision thereof; . . .

       is practicing law.

ALA. CODE § 34-3-6(b)(1). “The purpose of this provision of the Alabama Code is to ensure that

laymen do not serve others in a representative capacity in areas that require the skill and judgment

of a licensed attorney.” In re Session, No. 18-4762-JCO, 2019 WL 1528106, at *3–4 (Bankr. S.D.

Ala. Apr. 8, 2019) (citing Andrews v. Hotel Reed Nursing Home, 167 F.Supp.2d 1333, n. 2 (S.D.

Ala. April 11, 2001)). It is a criminal misdemeanor to practice law without a license or aide another

to practice law without a license in Alabama. See ALA. CODE § 34-3-7 (“Any person, firm or

corporation who is not a regularly licensed attorney who [practices] law is guilty of a misdemeanor

. . . . Any . . . who conspires with, aids and abets another . . . in the commission of such misdemeanor

must . . . be punished as provided by law.”).

       Some examples of types of services in a bankruptcy case that other courts have held

constitute the unauthorized practice of law in bankruptcy court are as follows:

       (1) Determining when to file bankruptcy cases.
       (2) Deciding whether to file a Chapter 7 or a Chapter 13.
       (3) Filling out or assisting debtors in completing forms or schedules.
       (4) Solicitation of financial information and preparation of schedules.
       (5) Providing clients with definitions of legal terms of art.
       (6) Advising debtors which exemptions they should claim.
       (7) Preparing motions and answers to motions.

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       (8) Advising debtors on dischargeability issues.
       (9) Advising debtors concerning the automatic stay.
       (10) Habitual drafting of legal instruments for hire.
       (11) Correcting “errors” or omissions on bankruptcy forms.
       (12) Advising clients as to various remedies and procedures available in the
       bankruptcy system.

In re Samuels, 176 B.R. 616, 622 (Bankr. M.D. Fla. 1994) (citing In re Bright, 171 B.R. 799, 802

(Bankr. E.D. Mich. 1994 (citations omitted)).

       Upright authorized its non-attorney staff to communicate with prospective clients regarding

retainer agreements prior to communicating with the Alabama lawyer regarding client retention.

Doc. 49 (Transcript of October 23, 2019, Hearing, pp. 113:9-114:9). Upright also authorized its

non-attorney staff to hold welcome calls with debtors, answer bankruptcy questions, and prepare for

341 meetings. Doc. 49 (Transcript of October 23, 2019, Hearing, pp. 161:16-24; 181:13-16; 121:10-

122:18; 162:15-163:2; 181:24-184:6; 125:6-15; 188:23-189:1; 192:14-193:2). Within a short time

after the Alabama lawyer is retained, their procedures require that he, or she, conduct what it calls

a “compliance call” with the client. This is supposed to cure what would have otherwise been the

unlawful practice of law in a bankruptcy filed, or to be filed in Alabama. Because the Alabama

lawyers have no control over Chicago personnel, their Alabama law licenses do not somehow shelter

the activities taking place in Chicago.

       Attorneys practicing before this Court must abide by the Alabama Rules of Professional

Conduct pursuant to Local Rule 83.1 of the United States District for the Middle District of

Alabama, as adopted by Local Bankruptcy Rule 1001-2. Alabama Rule of Professional Conduct

Rule 5.5 provides, in relevant part, that

       (a) A lawyer shall not:
           (1) practice law in a jurisdiction where doing so violates the regulation of the

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           legal profession in that jurisdiction; or
           (2) assist a person who is not a member of the bar in the performance of activity
           that constitutes the unauthorized practice of law.
           ***
       (e) Practicing law other than in compliance with this rule or Rule VII or Rule VIII
       of the Rules Governing Admission to the Alabama State Bar, or other rule expressly
       permitting the practice of law, such as the Rule Governing Legal Internship by Law
       Students, shall constitute the unauthorized practice of law and shall subject the
       lawyer to all of the penalties, both civil and criminal, as provided by law.
ALA. R. PROF. C. Rule 5.5(a) & (e).
       The Alabama Supreme Court, in Davis v. Alabama State Bar, 676 So. 2d 306, 307 (Ala.

1996), considered the discipline imposed by the Alabama State Bar Disciplinary Board for numerous

violations of the Alabama Rules of Professional Conduct, which included the violation of Rule 5.5

for assisting a person to engage in the unauthorized practice of law. The Alabama State Bar

presented evidence the two Alabama lawyers allowed their non-lawyer staff to provide legal

services, interview clients, and prepare legal filings. Id. Specifically, the non-lawyer staff prepared

bankruptcy petitions and gave advice to clients by explaining the differences between Chapter 7 and

Chapter 13. Id.

       The center of the dispute on this point is contained in Paragraph 10 of Upright’s proposed

Findings of Fact and Conclusions of Law. “As a registered professional business organization,

Deighan Law is duly authorized to practice law in Alabama.” (Doc. 66, Part 2, p. 4, Para 10). The

Court strongly disagrees with this position taken by Upright Law. The fact that Upright law is

registered as an LLC with the Alabama Secretary of State does not mean that it can practice law in

this State. This Court finds the local Alabama lawyers are not partners and Upright is not an

Alabama law firm. The Court further finds the Alabama lawyers are not regular associates of

Upright. As such, the Upright Law personnel in Chicago, when they work on bankruptcy cases filed

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or to be filed in the Middle District of Alabama, engage in the unauthorized practice of law. The

fact that they hire Alabama lawyers, on a contract, piece-work basis, does nothing to paper over this

reality.


     IV. Failure of Upright Attorneys to Provide Competent Legal Counsel and Otherwise
                     Comply with the Alabama Rules of Professional Conduct


           The Court now turns its attention to the conduct of Upright and the Alabama lawyers in the

prosecution of the individual bankruptcy cases. The Court will not dissect each of the 87 cases

identified in the Trustee’s Report in this section; instead, it will examine four cases exemplifying

the worst conduct of Upright and the Alabama attorneys.

           During the trial, the Court stood aghast at the flippant and often cavalier attitude of Upright’s

witnesses when questioned about the quality of legal services provided by Upright to its clients. The

most shocking example of this happened during the cross examination of Ryan Galloway, the Chief

Compliance Officer for Upright:

                   [OLEN] Q: All right. Then, the next sentence says, the “TT” -- I
                   assume t hat means the Trustee. The Trustee at the 341 told her that
                   “She is in danger of losing her home” and Upright’s response to that
                   is, “Blah, blah, blah.” Did I read that correctly?

                   [GALLOWAY] A: You read the words on the page, although you
                   characterize it as a response. I generally read, blah, blah, blah, as
                   kind of an ellipses.

                   Q: Okay. Somebody at Upright talking about their debtor client who
                   is in danger of losing her home that – that’s what the Trustee said,
                   then characterizes that as blah, blah, blah. Right?

                   A: Yes, they did.

Doc. 49 (Transcript of October 23, 2019, Hearing, p. 194:8-20).


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        This exchange, and the client correspondence it discusses, epitomizes the core of Upright’s

existence: Providing outsourced substandard legal services to the financially distressed and

vulnerable through a nationwide internet marketing campaign. As Judge Robinson of the Northern

District of Alabama succinctly said, “The court does not accept as accurate Menditto’s portrayal of

Upright’s internet cartel as an altruistic enterprise aimed at serving financially distressed consumers

in remote, often overlooked venues. That portrayal flies in the face of this court’s own experience

and that of other courts who have confronted the marketing strategies employed by Upright, often

at the expense of their clients.” In re White, No. 16-72114-JHR, 2018 WL 1902491, at *7 (Bankr.

N.D. Ala. Apr. 19, 2018), aff’d sub nom. L. Sols. Of Chicago, LLC v. Corbett, No. 1:18-CV-00677-

AKK, 2019 WL 1125568 (N.D. Ala. Mar. 12, 2019), aff’d 971 F.3d 1299 (11th Cir. 2020).

        Before the Court begins its discussion of the four selected cases, a review of the applicable

Local Rules for this Court and the Alabama Rules of Professional Conduct is necessary.

        The local rules of this Court state that “[t]he bar of this court shall consist of all members of

the bar of the United States District Court for the Middle District of Alabama. Local 83.1 of the

United States District Court for the Middle District of Alabama is incorporated herein by reference.”

M.D. Ala. L.B.R. 1001-2.

        Rule 83.1 of the District Court’s local rules states, clearly sets out that attorneys practicing

before the court must comply with the Alabama Rules of Professional Conduct, stating in pertinent

part that:

                Attorneys admitted to practice before this Court shall adhere to this
                Court’s Local Rules, the Alabama Rules of Professional Conduct, the
                Alabama Standards for Imposing Lawyer Discipline, and, to the
                extent not inconsistent with the proceeding, the American Bar
                Association Model Rules of Professional Conduct. Attorney


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               misconduct, whether or not occurring in the course of an
               attorney/client relationship, may be disciplined by disbarment,
               suspension, reprimand, monetary sanctions, removal from this
               Court’s roster of attorneys eligible for practice before this Court, or
               such other sanction as the Court may deem appropriate.
M.D. Ala. LR 83.1(g) (italics added).

       Local Rule 83.1 then outlines the powers of the Court to remedy alleged attorney

misconduct, stating that:

               When alleged attorney misconduct is brought to the attention of the
               Court, whether by a Judge of the Court, any lawyer admitted to
               practice before this Court, any officer or employee of the Court, or
               otherwise, the Court may, in its discretion, dispose of the matter
               through the use of its inherent, statutory, or other powers; refer the
               matter to an appropriate state bar agency for investigation and
               disposition; refer the matter to the local grievance committee as
               hereinafter defined; or take any other action the Court deems
               appropriate. These procedures are not mutually exclusive.
M.D. Ala. LR 83.1(h).

       A lawyer’s duty to provide competent representation is codified in Rule 1.1 of the Alabama

Rules of Professional Conduct, which states that:

               A lawyer shall provide competent representation to a client.
               Competent representation requires the legal knowledge, skill,
               thoroughness, and preparation reasonably necessary for the
               representation. A lawyer and client may agree, pursuant to Rule
               1.2(c), to limit the scope of the representation with respect to a
               matter. In such circumstances, competence means the knowledge,
               skill, thoroughness, and preparation reasonably necessary for such
               representation.
ALA. R. PROF. C. 1.1

       The duty to safeguard sensitive client information is laid out in Rule 1.6 of the Alabama

Rules of Professional Conduct, which states that “[a] lawyer shall not reveal information relating



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to representation of a client unless the client consents after consultation, except for disclosures that

are impliedly authorized in order to carry out the representation, and except as stated in paragraph

(b).” ALA. R. PROF. C. 1.6(a).


  A. Mari Morrison and Upight’s Failure to Provide Competent Representation to Tony
                                Mason in Case No. 17-30132

       Upright and Mari Morrison’s shortcomings were laid bare in the case of Tony Mason. From

the docket, the testimony of Mari Morrison, and the internal communications of Upright, Mr.

Mason’s chapter 7 bankruptcy should have been a routine case resulting in a standard discharge.

It was not.

       The testimony and evidence show that Morrison and Upright were derelict in their duty of

competence to Tony Mason, and the Court will address the specific failures individually in Parts 1

through 7, infra.

                              1. Failure to Verify Mason’s Identity


       Things got off to a rocky start between Upright and Mr. Mason. Mr. Mason never met with

Mari Morrison, or any attorney from Upright to review and sign his bankruptcy petition. In fact, the

most contact Mr. Mason had with Mari Morrison or Upright prior to the 341 was a handful of

telephone calls. While distance representation is undoubtedly a sign of the modern age of legal

service providers, this Court has serious concerns about the corners cut by utilizing this modern

convenience.

       To begin, neither Mari Morrison nor Upright took reasonable steps to ensure Mr. Mason’s

identity before accepting him as a client and filing a chapter 7 petition. Mr. Mason provided Upright



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staff in Chicago with basic personal information such as his name, address, and social security

number. However, while Mr. Mason provided the information, Mari Morrison never actually met

with Mr. Mason to review his driver’s license and social security card and verify his identity prior

to the 341, nor did she engage with Mr. Mason via video conferencing to visually inspect his

driver’s license and social security card to confirm his identity.

       The testimony of Ryan Galloway, Upright’s corporate witness, was quite informative about

the intake process for Upright prospective clients and its evolution since Upright’s inception. On

direct examination, Galloway revealed that:

               [GALLOWAY] A: [ . . . ] In September of 2015, the firm changed
               in a fairly substantial way, the manner in which it was delivering
               legal services; like, the internal processes that were engaged by the
               firm up until September 9, 2015 are different than those engaged by
               the firm after that date.

Doc. 48 (Transcript of October 22, 2019, Hearing, pp. 109:21-110:1).

       Galloway further explained the shift in Upright’s practices post-September 2015.

               [GALLOWAY] A: So under the first model, or under the old model,
               we had attorneys that were in the Chicago office who were the first
               drafters of the petition schedules and the statements. And we also
               had a document collection department in the home office in Chicago
               and we also had document storage -- database, we had a database
               where we -- where -- where we stored all the documents we were
               collecting.
                        After September of 2015, the biggest change was that the
               partners started doing their document collection and drafting of the
               first -- doing the first draft of the petition themselves.

               [ARMGARDT] Q: And when you say, document collection, are you
               talking about documents from the client?

               A: Yes.



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               Q: Such as?

               A: Taxes, stubs --

               Q: Pay stubs, you mean?

               A: -- yeah, I’m sorry. Pay advices, IDs, driver’s licenses, social
               security cards, bank statements -- it really all depends on where the --
               the documents can vary a lot depending upon where the client is and
               the factual circumstances of their own life.
                       But generally, the -- the documents that are kind of common
               to everyone are ID, social security card, bank statements and two
               years of tax returns -- at least two years of tax returns, sometimes
               more.

Doc. 48 (Transcript of October 22, 2019, Hearing, pp. 110:11-111:11).

       While discussing the prior practice of document collection at Upright’s Chicago office,

Galloway testified that:

               THE WITNESS [GALLOWAY]: [ . . . W]e used to require our
               clients, based on some practices that are now defunct, to submit at the
               outset of the representation a copy of their picture ID and social
               security card and the reason for that is because one of our big
               advertising points to people, at least it used to be, is that they had the
               option of meeting over Skype -- with people rather than having to go
               in during regular business hours, take a day off work, things of that
               nature which meant that in order to verify identification, we would
               get -- we would get from the outside representation, get a copy of
               their picture ID and their social security card.
                        And then, we would actually Skype the clients to build and do
               the review appointments with the clients, we would actually capture
               a picture of the person holding up their ID next to their face. And
               then, we would be able to compare the documents that were
               originally provided to the ones we were later on, so that we would
               know that we had met our obligations in verifying the identity of our
               clients. And then, we’d save that separately.
Doc. 48 (Transcript of October 22, 2019, Hearing, pp. 72:17-73:11).




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       Mason’s petition was filed by Mari Morrison on January 18, 2017. The testimony and

evidence indicate that by the time Mason filed his petition, the intake personnel in Chicago were no

longer collecting documents and verifying the identity of a prospective client. That responsibility

fell on Mari Morrison’s shoulders, and Morrison’s own testimony confirms that she was derelict in

her duty to verify Tony Mason’s identity:

               [OLEN] Q: He, the client, mentioned that he had not met with you
               in person or through video conference in order to sign his petition.
               Did I read that correctly?

               [MORRISON] A. That is correct what you read.

               Q: And then goes on to say -- Mr. Weinacker says some trustees may
               ask the client whether they signed the petition in the presence of an
               attorney. Do you see that?

               A: Yes.

               Q: So clearly, if Tony Mason is to be believed, you didn’t meet with
               him in person and you didn’t meet with him over Skype when he
               signed these bankruptcy papers, correct?

               A: That would more than likely be correct.

               Q: That’s not how it’s supposed to be done, is it?

               A: Every effort is made and sometimes you can’t make those
               connections.

               Q: But that wasn’t the question. I said that’s not how it’s supposed
               to be done, is it?

               A: No. Not ideally.

               Q: It’s not just not ideal, it’s just not acceptable, is it? Is it?




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         A: It’s acceptable:

         THE COURT: Wait a minute. Wait a minute. Wait a minute. Wait
         a minute. You mean a petition in bankruptcy, the schedules are being
         filed and you haven’t even talked to the client? Is that what you’re
         saying is acceptable?

         THE WITNESS: That’s not what I’m saying I’m --

         THE COURT: Okay. Let’s --

         THE WITNESS: He just said you haven’t met with him. I’ve talked
         with him numerous times by telephone.

         THE COURT: All right. You talked to him by phone.

         THE WITNESS: And we had many communications. E-mail,
         telephone, numerous communications.

         THE COURT: All right. Sorry I misunderstood. Well, if you’re not
         meeting with a client face-to-face such as in this case, the Tony
         Mason case, how do you satisfy yourself that the schedules and
         statements and things that are filed with the client’s signature are in
         fact -- the client has done something to show that he intends to sign
         them?

         THE WITNESS: Well, as I said before, these are sent to the client in
         an email. And once the client gets the email, what I would attempt
         to do would be to set up a Skype interview to see the client in front
         of me and to do the review of the petition and the documents and
         make any changes necessary.


                 There are times that I have set up the interviews and then call
         the client and the client can’t -- either can’t do the Skype or it’s not
         working or something’s messing up. I’ve even had times where
         people could see me but I couldn’t see them or they could see me --
         whatever -- the other way around. But – and I cannot recall with this
         instance if that’s what happened but I do trust the fact that perhaps
         we did not meet until the 341 meeting but had numerous


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                communications prior to that date.

Doc. 51 (Transcript of October 28, 2019, Hearing, pp. 132:7-134:9).

        The cavalier, or at best flippant, attitude exhibited by Morrison in the face of her failure to

verify Mason’s identity prior to commencing the bankruptcy case astounds the Court. The Court

finds that she placed far too much faith and reliance in the Upright staff in Chicago as well as

telephonic and email correspondence. Morrison knew, or should have known, that the intake

personnel in Chicago had not verified Mason’s identity prior to referring Mason to her given that

Upright’s new internal policy was more than a year old.

        Further, despite her belief, sending an email to an email address does not carry the same

weight of authenticity as mailing a document through the United States Postal Service to a person’s

mailing address. The presumed validity of receipt for documents sent through the mail to a physical

address stems from the fact that the recipient’s address was established through some affirmative

act taken by the recipient with the Post Office to ensure that his or her mail is delivered to the correct

address.

        Email is a horse of a different color as it generally requires no form of identity verification.

For example, Yahoo! could potentially allow someone to create the email address

“johnqdebtor@yahoo.com” without verifying that the person requesting that email address is in fact

someone named John Q. Debtor.

        While form B121 requires the Debtor in an individual bankruptcy case to verify their full

Social Security number by affixing their signature from the form, it also provides Debtor’s counsel

another opportunity to make sure the numbers match. People make mistakes, especially when faced

with 60 or 70 pages of legalese paperwork, and sometimes numbers get transposed, duplicated,


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omitted, or simply incorrectly entered. That is why Morrison, as bankruptcy counsel, had a duty to

independently verify that the social security number indicated on form B121 matched the social

security number on debtor’s social security card or another official document. Since Morrison never

met with Mason in person or by video, she was never able to visually verify the number against

Mason’s Social Security card.

       For her failure to confirm Mason’s identity, Morrison deserves the lion’s share of blame.

Once she received the referral from Chicago, she had a duty to verify the identity of her prospective

client and his social security number before filing a petition in bankruptcy. Mari Morrison failed

to exercise her duty.

       Ultimately, both Morrison and Upright had a duty to verify that Tony Mason was in fact

Tony Mason prior to filing a bankruptcy case on his behalf. Prior to Mason’s attendance at the first

setting of his 341, neither Morrison nor Upright met with Mason either in person or via video

conference to inspect his photo ID. While the trustee ultimately inspected his photo ID at the 341

and verified his identity at that point, the fact remains that until that point, Morrison and/or Upright

were preparing and filing legal documents on Mason’s behalf despite the fact that neither had laid

eyes on him.


                        2. Failure to Safeguard Sensitive Client Information


       To compound an already bad situation, Morrison filed unredacted paystubs in Mason’s case

that displayed the full Social Security number indicated in Mason’s schedules on all six pages.

According to Morrison, the failure to redact was the result of an error in the software she utilized.

While that very well might be the case, Morrison again had a duty to protect both his Social Security


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number and bank account number from public exposure, especially given the fact that she failed to

verify that it was in fact Mr. Mason’s social security number before she filed the document.

       Certainly, the commencement of a bankruptcy petition requires the disclosure of the debtor’s

full social security number to the clerk of court in order to generate the Notice of Bankruptcy forms

transmitted to the debtor’s creditors. See Form B121 – Statement Regarding Your Social Security

Number. Additionally, any and all bank accounts owned by the debtor must be disclosed on

Schedule A/B. However, only the last four digits of a debtor’s social security number are displayed

on the public docket, and only the last four digits of the bank accounts are required in Schedule A/B.

       The Federal Rules of Bankruptcy Procedure restrict the filing of documents containing

sensitive information:

               (a)     REDACTED FILINGS. Unless the court orders otherwise, in an
               electronic or paper filing made with the court that contains an
               individual’s social-security number, taxpayer-identification number,
               or birth date, the name of an individual, other than the debtor, known
               to be and identified as a minor, or a financial-account number, a party
               or nonparty making the filing may only include:
                    (1) the last four digits of the social security number and
                        taxpayer-identification number;
                    (2) the year of the individual’s birth;
                    (3) the minor’s initials; and
                    (4) the last four digits of the financial-account number.
FED. R. BANKR. P. 9037(a)

       The local rules of this Court further specify that “[t]he responsibility for redacting the

personal identifiers discussed in Rule 9037, Federal Rules of Bankruptcy Procedure, rests with

counsel and the parties. The clerk is not required to review pleadings for compliance with this rule.”

M.D. Ala. L.B.R. 9037-1(a) (emphasis added). The local rules require that:


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               (a) When a party discovers or is notified that a document containing
                   personal identifiers was filed, the party must do the following:
                       (1) file a motion to redact identifying the proposed
                           redactions;
                       (2) attach to the motion the proposed redacted document;
                       (3) include in the motion the docket or proof of claim number
                           of the previously-filed document; and
                       (4) serve the motion and attachment on the debtor, debtor’s
                           attorney, trustee (if any), Bankruptcy Administrator, filer
                           of the unredacted document, and any individual whose
                           personal identifying information is to be redacted.
M.D. Ala. L.B.R. 9037-1(b) (emphasis added).

       Incorrect or false Social Security numbers present a uniquely serious problem within the

bounds of bankruptcy law. The Court’s docketing system, CM/ECF, gathers certain data from

PACER, which utilizes a debtor’s Social Security number to determine prior filings and to generate

the Notice of Prior Filing that appears on a debtor’s docket sheet. While this problem is ultimately

a correctable mistake, if it is not detected and remedied, an erroneously listed prior case could

seriously endanger a debtor’s discharge in the new case or subject the new case to dismissal on the

grounds of abusing the system through repeat filings.

       Further, every bankruptcy case is linked to the social security number listed in the petition.

As such, the credit score associated with that social security number is negatively affected by the

filing of that bankruptcy. False or incorrect social security numbers on the petition can destroy the

good credit of a third party actually assigned the listed social security number. Clearly, neither

Morrison nor anyone at Upright was particularly concerned about commencing new bankruptcy

cases under unverified social security numbers.

       Both Morrison and Upright had a duty to safeguard Mason’s confidential information under

the Alabama Rules of Professional Conduct, the Federal Rules of Bankruptcy Procedure, and the


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local rules of this Court, for which they grossly failed to fulfill their duty. The Court acknowledges

that technology is sometimes imperfect; Morrison claims that she labored under the belief that she

had redacted the information on her computer. She very well may have; however, her duty to redact

the social security number did not cease once she purportedly redacted the information on her

computer. Rather, she had a duty to verify that the sensitive and confidential information contained

in those paystubs was indeed sanitized before she filed the document with the court. That is where

her failure began, but it was not the end.

        Unfortunately, her failure remained in place for more than three years while the paystubs

languished on Mason’s docket sheet. In those three years, Morrison failed to file a Motion to Redact

in the case as required under Rule 9037 and local rule 9037-1, leaving Mason’s full social security

number sitting on a public docket. On February 25, 2020, this Court sua sponte restricted access

to the paystubs containing Mason’s full social security number.

        The fact that the unredacted document remained on the docket sheet more than three years

speaks volumes about the incredible lack of concern for client confidential information exhibited

by both Morrison and Upright. This Court finds that their actions and inactions clearly constitute

violations of Rule 1.6 of the Alabama Rules of Professional Conduct, Rule 9037 of the Federal Rules

of Bankruptcy Procedure, and Rule 9037-1(b) of the Local Rules of the United States Bankruptcy

Court for the Middle District of Alabama.6



        6
          The issue of unredacted Social Security Account Numbers was pervasive in the 87 Upright cases. Aside from
the Tony Mason case, there were unredacted Social Security Account Numbers in the following cases: Shaun &
Christina Lewis, 14-80964; Robert & Phyllis Wilson, 16-33607; Michael Miller, 16-80140; Zachary & Kaitland
Causland, 16-81072; Benjamin Kinsman, 16-81102; Caroline Stevens, 16-81413; Ian Willett, 16-81572; Mary
McKinnes, 17-11726; Rickey Jackson, 17-32767; Christopher Culverhouse, 17-80243; Sydelle Story, 17-80547; Derrick
Echols, 17-81163; William Liver & Lisa Miller, 18-32711.


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                    3. Failure to Obtain Mason’s Signature on his Petition


       Beyond Morrison’s failure to confirm Mason’s identity prior to the commencement of

Mason’s case, she also failed to obtain Mason’s signature on his petition prior to filing. While

certain exigencies can exist from time to time, especially in the context of an emergency petition for

relief, none of those exigencies were present in Mason’s case, and in no event is it acceptable for

a month or more to elapse from the petition date with the schedules still unsigned.

       Mason’s bankruptcy case was filed on January 18, 2017 and the original date for the meeting

of creditors was February 17, 2017 at 9:00 AM. On February 14, 2017, almost a month after his

petition was filed, Mason informed Upright in Chicago that he had neither met Morrison in person,

nor had Mason video conferenced with her in order to sign his petition or affirmatively endorse his

petition and schedules. (Ex. 1083). The only communication between Mason and Morrison was

a series of telephone conversations and email exchanges.

               [OLEN] Q: Here is an entry on February 14, 2017 by Grafton
               Weinacker. You see that?

               [MORRISON] A: Yes.

               Q: I just spoke with this client, and talks about in regard to the 341
               meeting. Do you see that?

               A: Yes.

               Q: He, the client, mentioned that he had not met with you in person
               or through video conference in order to sign his petition. Did I read
               that correctly?

               A. That is correct what you read.

               [...]


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               Q: So clearly, if Tony Mason is to be believed, you didn’t meet with
               him in person and you didn’t meet with him over Skype when he
               signed these bankruptcy papers, correct?

               A: That would more than likely be correct.

Doc. 51 (Transcript of October 28, 2019, Hearing, p. 132:1-18).

       Despite that exchange, Morrison later offered the following testimony regarding her practice

of gathering wet ink signatures for bankruptcy petitions:

               THE COURT: [ . . . ] How do you know and we know that lawyer’s
               responsible for making sure that the client somehow has done
               something to signify, yes, this is -- I want these signed, these are
               mine.
                       So my question is, how do you know that the client has signed
               off on these particular schedules?

               THE WITNESS [Morrison]: Before I would file any petition, I
               always required that I had the wet ink signature pages in my
               possession.

               THE COURT: So the wet ink signature pages of the petition, the
               schedules, so you have all those somewhere?

               THE WITNESS: Yes.

               THE COURT: Oh. All right.

               THE WITNESS: And I believe there was testimony from Mr.
               Galloway that they’re audited by Upright.

Doc. 51 (Transcript of October 28, 2019, Hearing, p. 136:2-12).

       Morrison’s testimony is clearly inconsistent. Despite her steadfast assurance that she

“always” obtains wet ink signatures prior to filing bankruptcy petitions, the evidence and her own

testimony indicate that Mason did not execute a wet ink signature on any of his bankruptcy



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documents prior to the commencement of his case, and in fact did not do so until the first setting of

the 341.

       Moreover, while Upright instituted its “Signature Page Audit Program” in order to ensure

that the local attorneys obtained “wet ink” signatures on petitions, schedules, statements, and

amendments to statements, it did not roll out this program until May of 2017 – almost four months

after Mason’s petition was filed. (Ex. 20).

       Bankruptcy Rule 5005 envisages that almost all documents filed in bankruptcy cases through

counsel are electronic documents and that “[a] filing made through a person’s electronic-filing

account and authorized by that person, together with that person’s name on a signature block,

constitutes the person’s signature.” Fed. R. Bankr. P. 5005(a)(2)(C).

       Additionally, Bankruptcy Rule 1008 and 28 U.S.C. § 1746 do not expressly prohibit the use

of electronic “/s/” signatures in bankruptcy filings. Rule 1008 requires that “[a]ll petitions, lists,

schedules, statements and amendments thereto shall be verified or contain an unsworn declaration

as provided by 28 U.S.C. § 1746.” Fed. R. Bankr. P. 1008. Section 1746 requires that:

               Wherever, under any law of the United States or under any rule,
               regulation, order, or requirement made pursuant to law, any matter is
               required or permitted to be supported, evidenced, established, or
               proved by the sworn declaration, verification, certificate, statement,
               oath, or affidavit, in writing of the person making the same (other
               than a deposition, or an oath of office, or an oath required to be taken
               before a specified official other than a notary public), such matter
               may, with like force and effect, be supported, evidenced, established,
               or proved by the unsworn declaration, certificate, verification, or
               statement, in writing of such person which is subscribed by him, as
               true under penalty of perjury, and dated, in substantially the
               following form:




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            (1) If executed without the United States: “I declare (or certify, verify,
                or state) under penalty of perjury under the laws of the United States
                of America that the foregoing is true and correct. Executed on (date).
                (Signature)”.
            (2) If executed within the United States, its territories, possessions, or
                commonwealths: “I declare (or certify, verify, or state) under penalty
                of perjury that the foregoing is true and correct. Executed on (date).
                (Signature)”.
28 U.S.C. § 1746.

        To clarify, the Court is not insinuating that the only way for a debtor to sign or execute the

petition, schedules, and statements is by a wet ink signature, or that attorneys should not file

documents lacking wet ink signatures. The Upright Respondents urge this Court to accept their use

of electronic signatures in lieu of wet ink signatures. In support of this plea, Upright Petitioners cite

to 15 U.S.C. § 7001, the Electronic Records and Signatures in Commerce Act. See Doc. 66 at 26-27.

The Upright Respondents have put their cart in front of their horse.

        Electronic filings and “/s/” signatures are an immovable fixture in the modern practice of

law, and as such, the Court does not take issue with the debtor or counsel affixing a “/s/” signature

in lieu of a traditional pen-to-paper delivery of the signature. The Court does take issue with counsel

affixing a debtor’s “/s/” signature under inappropriate or impermissible scenarios. An attorney

should not affix a client’s “/s/” signature to a document unless the client has reviewed and

affirmatively authorized, executed, or signed the document itself.

        Before filing a document with a client’s “/s/” signature, the attorney should have no doubt

that such authorization, execution, or actual signature took place. As discussed in Part 1, supra,

neither Morrison nor Upright verified Mason’s identity prior to the first setting of the 341, and the




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evidence and testimony indicate that Mason had not signed the documents prior to that same date.

Therefore, the Court finds it painfully clear that Morrison and Upright affixed Mason’s “/s/”

signature to his petition, schedules, and statements despite a lack of verified identity and certainty

that he reviewed, executed, or signed the documents. That is their failure, and a violation of

Morrison and Upright’s duty of thoroughness under Rule 1.1.


                       4. Transmitting Incorrect Information to Mason


       Perhaps the most astounding testament to Morrison’s failure in Mr. Mason’s case was the

way she mishandled its implosion. As previously stated, nothing appearing on the docket for Mr.

Mason’s case indicated that his chapter 7 would be anything other than a routine “no asset” case.

There were no adversary proceedings filed by or against Mason, there were no reaffirmation

agreements filed, and, as previously referenced, there were no assets for the trustee to liquidate.

       On May 19, 2017, Mr. Mason’s case was closed without a discharge because he failed to

complete a financial management course. (Exhibit. 421). Despite this, Morrison informed Mason

that he received a discharge. (Exhibit. 39). This was clearly and obviously wrong and can only be

explained by a lack of thoroughness on Morrison’s part.

       Morrison testified that she reached out to Mason on several occasions, to discuss the status

of his case after it was closed without a discharge.

               [ARMGARDT] Q: Now after the case was dismissed do you think
               you should have taken some further action?

               [MORRISON] A: I notified repeatedly the address that had for this
               gentleman, and continued to try reaching out to him.

               Q: In order to discuss next steps?


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               A: Yes.

               Q: If any?

               A: Yes.

               Q: And what happened then?

               A: Well, I didn’t hear from him until, I want to say last spring. He
               called me at 1:30 in the morning.

               Q: He had your --

               A: Well, he always had my cell phone. Yeah.

               Q: And he -- so what happened during that phone call?

               A: He told me that he was ready to get back started on getting his
               discharge. Well, by that time it was already, you know, over a year.
               And I told him, I said -- I told him that it would have to start all over
               again because it had been dismissed.

               Q: I see. And what happened next?

               A: Well, I haven’t heard from him.

Doc. 51 (Transcript of October 28, 2019, Hearing, pp. 39:22-40:17).

       After Mason’s case was reopened in response to the Trustee’s motion, Mason filed a

Financial Management Course Certificate on May 3, 2019. Mason received his discharge under 11

U.S.C. § 727 on May 9, 2019.


                     5. Failure to Maintain a Copy of Mason’s Case File


       Compounding the signature genuineness issues discussed in part 3, supra, is Mari Morrison’s

failure to maintain and preserve Mason’s client file. As discussed in Part 2, supra, Mari Morrison,




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as an attorney admitted to practice before this Court, is bound by the Alabama Rules of Professional

Conduct.

       The Alabama State Bar has adopted the “entire file” approach to determine what constitutes

the client’s file. According to Ethics Opinion 2010-02:

               [t]he “entire file” approach provides that the client owns and is,
               therefore, entitled to all of the documents within the client’s file,
               unless the lawyer establishes that withholding items would not result
               in foreseeable prejudice to the client or would, as previously
               discussed, endanger the health, safety or welfare of the client or
               others.

State Bar of Ala. Office of the Gen. Counsel, Ethics Op. 02 at 7 (2010) (citations omitted).

       The schedules and petition containing the original wet ink signatures are clearly part of

Mason’s “entire file” under the Alabama Rules of Professional Conduct. As such, Rule 1.15

governs the length of time she must maintain and preserve that file for the client. Ethics Opinion

2010-02 clearly states that:

               [g]enerally, a lawyer should maintain a copy of the client’s file for a
               minimum of six (6) years from the termination of the representation
               or conclusion of the matter. A lawyer’s failure to maintain a file for
               this minimum period of time is presumptively unreasonable based
               upon consideration of the statute of limitations under the Alabama
               Legal Services Liability Act (Ala. Code § 6-6-574) and the six-year
               period of limitations for the filing of formal charges in lawyer
               disciplinary matters (Rule 31, Alabama Rules of Disciplinary
               Procedure). Six (6) years is the absolute minimum period, but special
               circumstances may exist that require a longer, even indefinite, period
               of retention.

State Bar of Ala. Office of the Gen. Counsel, Ethics Op. 02 at 6-7 (2010).

       Morrison’s testimony demonstrates her complete lack of understanding of Rule 1.15 and her

duties thereunder:


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               [OLEN] Q: My question is you just told the Court you have signed
               original wet ink signatures and I want to know if you have them in
               your possession right now today?

               [MORRISON] A: No.

               Q: What happened to them?

               A: Well when the year passed and the time expired I did some
               cleaning because you can do a lot and I’ve moved.

               Q: Well what time did it start?

               A: And I left Upright in 2017.

               Q: What time expired that caused you to throw away these original
               signatures?

               A: I think somewhere I had read something that says that you’re
               supposed to keep them for a year.

Doc. 51 (Transcript of October 28, 2019, Hearing, pp. 137:19-138:6).

       Again, Morrison’s actions demonstrate her ignorance of the Alabama Rules of Professional

Conduct.


                       6. Failure to Timely Comply with § 521(e)(2)(A)

       During the course of his bankruptcy, Mason’s 341 was continued twice due to filing

deficiencies. The most glaring of the deficiencies was the Debtor’s failure to provide the Chapter

7 Trustee with a copy of his federal tax return in compliance with 11 U.S.C. § 521(e)(2)(A). The

provisions of § 521 require that

               The debtor shall provide—
               (i)    Not later than 7 days before the date first set for the first
               meeting of creditors, to the trustee a copy of the Federal income tax


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                 return required under applicable law (or at the election of the debtor,
                 a transcript of such return) for the most recent tax year ending
                 immediately before the commencement of the case and for which a
                 Federal income tax return was filed; and
                 (ii)    at the same time the debtor complies with clause (i), a copy
                 of such return (or if elected under clause (i), such transcript) to any
                 creditor that timely requests such copy.

11 U.S.C. § 521(e)(2)(A).

          The consequences are stark for a debtor’s failure to timely provide the trustee with a copy

of the most recent federal tax return. Section 521(e)(2)(B) states that “[i]f the debtor fails to comply

with clause (i) or (ii) of subparagraph (A), the court shall dismiss the case unless the debtor

demonstrates that the failure to so comply is due to circumstances beyond the control of the debtor.”

11 U.S.C. § 521(e)(2)(B).

          Morrison’s testimony established that she was aware that Mason had not filed his federal tax

return:

                 [ARMGARDT] Q: Do you feel you were diligent and competent in
                 this case?
                 [MORRISON] A: Yes. I did -- I worked very hard for this
                 gentleman. In fact, we had a difficulty of getting his -- everything
                 together. Mr. Mason had not filed his taxes in two years and that
                 delayed getting information into the court. I knew where he worked.
                 I had his paycheck, W-2 forms, copies of them. And ultimately, I
                 offered to him when I was talking to him about how we had to get
                 this in.
                         I asked him if he wanted me to prepare for him his 1040X or
                 short form taxes based upon the information on his W-2 forms. And
                 I said now I’ll just be preparing this for you. It’s not as a professional
                 accountant, nor is it in my capacity as -- with Upright Law. This was
                 just something that will help you get your taxes paid and you’ll
                 probably get a refund back. Because he wasn’t a high income. So I
                 did prepare and send to him two years of tax forms that apparently he
                 did file and he sent me copies of the signed ones that I ultimately


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                 filed with the court -- or the Trustee.
Doc 51 (Transcript of October 28, 2019, Hearing, pp. 41:23-42:16)

        Mason’s petition was filed on January 18, 2017, and the next day, the clerk’s office set

Mason’s initial 341 for Friday, February 17, 2017 at 9:00 AM. Under § 521(e)(2)(A), Mason’s tax

returns were due to the trustee no later than Friday, February 10, 2017.

        The statutory language is clear. Tax returns are due to the trustee seven days prior to the first

setting of the 341, and a failure to do so subjects the debtor’s case to dismissal. While the burden

to produce the returns ultimately falls on the debtor’s shoulders, Morrison must bear some of the

blame because she took it upon herself to prepare a Form 1040 return for Mason.7

        As discussed in part 7, infra, Mason had been paying Upright for nearly a year in anticipation

of filing a chapter 7 bankruptcy. When Morrison received the file from the Upright staff in Chicago,

or immediately thereafter, she knew, or should have known, that Mason had unfiled tax returns.

Based on her testimony, she had all the necessary documents to prepare Mason’s tax return, which

she ultimately did, but at considerable delay. The two continuances of his 341 relating to tax return

and Schedule A/B issues show that the trustee did not receive Mason’s returns by the § 521(e)(2)(A)

deadline.

        In addition to the requirements under the Bankruptcy Code, Rule 3.2 of the Alabama Rules

of Professional Conduct states that “[a] lawyer shall make reasonable efforts to expedite litigation

consistent with the interests of the client.” The official comment to Rule 3.2 further cautions that

“[i]t is not a justification that similar conduct is often tolerated by the bench and bar.” ALA. R.


        7
          The Court notes that while Morrison testified that she prepared Mason’s “1040X or short form taxes,” 1040X
is used only for amended individual returns. See Trial Tr. 42, In re Deighan Law LLC, No. 19-301 (Bankr. M.D. Ala.
Oct. 28, 2019), ECF No. 51.


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PROF. C. 3.2, Comment (June 23, 2008). The Court is not suggesting that Morrison delayed her

preparation of Mason’s tax returns so that Mason would gain some untoward advantage over the

trustee or his creditors. However, Morrison was bound by her duty of competence and her duty to

reasonably expedite Mason’s bankruptcy, and she was derelict in both of those duties.

        Additionally, the Court is not insinuating that it is misconduct for an attorney to file a

bankruptcy petition for a debtor who has outstanding tax returns; in fact, the Bankruptcy Code

contemplates this exact scenario by the language of § 521(e)(2)(A)(i). With that in mind, the Court

does require that an attorney who prepares a debtor’s tax returns to act with all reasonable

expedience in order to not endanger debtor’s bankruptcy case.

        The fact that Mason ultimately received a discharge is irrelevant when reviewing the conduct

of Upright and Morrison’s actions in the case for misconduct. Morrison’s failure to prepare Mason’s

tax returns and transmit them to the trustee by February 10, 2017 left Mason vulnerable to dismissal.

Given the substantial time that elapsed between Mason’s initial communication with Upright and

when Morrison filed Mason’s petition, there is no excuse for the delay in getting Mason’s tax returns

to the trustee.

                              7. Deficiencies in Mason’s Schedules


        Finally, Mason’s case wallowed unceremoniously for months waiting on Morrison to correct

obvious errors in Mason’s schedules. At the initial setting of Mason’s 341, trustee instructed Mason

and Morrison to amend Schedule A/B to include an unlisted vehicle and unlisted bank accounts.

The court will examine the deficiencies along with other mistakes, focusing on the reasonableness

of each omission and/or error.




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         First, Mason’s initial schedules listed only $100 in clothing on Schedule A/B; there were no

vehicles, cell phones, bank accounts, tools, jewelry, etc. Mason listed only the clothes on his back.

Despite the absence of bank accounts on Schedule A/B, the paystubs filed by Morrison on Mason’s

behalf clearly indicated that all of Mason’s paychecks in the 60 days preceding the filing of his

chapter 7 were deposited directly into a checking account.

         The bank account information on Mason’s paystubs should have prompted Morrison to assist

Mason in disclosing the account in his schedules in one of two applicable locations. First, if Mason

still maintained the bank account indicated on his paystubs, then he had a duty to list the account

as an asset on line 17 of Schedule A/B under “Deposits of Money.” Conversely, if Mason had

closed the account prior to the filing of his petition, then he had a duty to disclose the closure of the

account in Part 8, Question 20, of the Statement of Financial Affairs. In the initial filing, neither

Schedule A/B nor the Statement of Financial Affairs listed any open or closed bank accounts.

         As discussed in Part 2, supra, Morrison drafted Mason’s schedules based on information

provided by Mason to Upright. It is evident that Morrison reviewed the paystubs in order to input

Mason’s income and employment information on Schedule I and Form 122A. The bank account

information was not particularly hidden on Mason’s paystubs; it was clearly identified in the “net

pay” section of the paystubs, with “Account Type” selected as “Checking.”8 An attorney exercising

a reasonable amount of care would have caught that omission and discussed the matter with their

client prior to filing the entire petition.

         Whether this omission was intentional or accidental on Mason’s part, Morrison had a duty


         8
          The Court does not cite to the paystubs in question on Mason’s docket sheet in Case No. 17-30132 because
they are now restricted from public access due to the presence of Mason’s social security number, as discussed in part
2, supra.


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to review Mason’s schedules, paystubs, statements, and declarations, to ensure that Mason had

followed the instructions printed on the documents. This is not to say that Morrison had a duty to

act as the sole point of quality control. Indeed, Mason certainly knew more about the state of his

property than Morrison. However, Morrison failed to recognize and reconcile the obvious

information on Mason’s paystubs with the information Mason provided on his sworn schedules and

statements.

       The omission of debtor’s 2005 Nissan Altima from line 3 on Schedule A/B is equally as

troubling, particularly because the Nissan was financed. This omission was another reason why

Mason’s 341 was twice continued by the trustee; ultimately, this was not added until three months

post-petition, and one day before the final setting of the 341. When questioned about the delay,

Morrison offered the following explanation:

               [ARMGARDT] Q: The final bullet point in the discussion of this
               case in petitioner’s report makes reference to, quote, inaccuracy of
               schedules.

               [MORRISON:] A: Yes.

               Q: Do you see that?

               A: Yes.

               Q: And what do you understand is that issue?

               A: It had to do with the car. When I got the information from the
               client he had told me that he had wrecked a car and he still owed on
               the car so that was an issue as far as being able -- I mean, the car was
               not derivable [sic] but he still owed on it and he was facing, I believe,
               garnishment. So it was important to him to get the discharge because
               of the inoperable car and the debt that he was facing. I think he had
               told me that he was using someone else’s car, something to that
               nature. And when we did get to the 341 Meeting he said that he had


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                bought another car, Buick. And that’s the first I have heard of it. But
                it turns out it was at best a strange buy. He couldn’t tell me who he
                bought it from. It was like Uncle Joe or something like that. And I
                think he paid maybe $200 on it and he owed maybe $500 more.
                Something of that nature. And as I tried to amend the schedule I
                never could get a real name and address from him as to who the
                creditor was.

                Q: Well, did you do anything to address the situation in your court
                filings?

                A: I tried to file amended filings that would at least disclose that I
                was attempting to remedy that secured debt that I doubt if anything
                had actually been filed to secure it. But because it was like a local
                buy it wasn’t a dealership or anything of that nature.

Doc. 51 (Transcript of October 28, 2019, Hearing, pp. 40:18-41:22).

        The Court does not question Morrison’s efforts to locate the purported secured creditor. The

Court takes issue with Morrison using this as a justification for her delay in filing an amendment to

Schedule A/B. The Court also notes that the amended Schedule A/B filed on April 20, 2017, lists

a 2005 Nissan Altima valued at $2,063, and the amended Schedule D shows that Mason owed

Melvin Sudduth $2,000 against the Altima. Morrison’s own testimony indicates that the fly in the

ointment preventing her from amending all of Mason’s schedules was the fact that she did not have

an accurate name or address for the secured creditor. However, Schedule A/B does not require the

debtor to list a secured creditor; in fact, there is not a line for a secured creditor.

        Further, unlike Schedules D and E/F, this Court does not charge a fee to amend the

remainder of the debtor’s schedules. Thus, Morrison could have filed Mason’s amendments to

Schedules A/B and C to add the vehicle and bank accounts without incurring a $31 filing fee. The

Court does not understand Morrison’s apparent aversion to addressing filing deficiencies on an



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individual basis. There was no need to delay the amendment to Schedules A/B and C while

Morrison and Mason attempted to gain information sufficient to amend Schedule D.

        Beyond the omissions on Schedules A/B and the failure to timely amend, Morrison also

erroneously included several items in Mason’s schedules and statements. First, Mason’s social

security benefits are included on line 2 of Form 122A-1 as “gross wages, salary, tips, overtime, and

commission” despite the exclusion of social security income from the Means Test Calculation.9 To

make matters worse, Line 10 of the Statement of Financial Affairs stated that Colonial Auto Finance

repossessed Mason’s 2001 Buick Regal in the summer of 2016, yet five pages later, Form 108 stated

that Mason intended to retain the 2001 Buick Regal and reaffirm the debt with Colonial. Again, this

underscores Morrison’s lack of competency and thoroughness with regard to the information placed

in Mason’s schedules.

        While Mason ultimately received a discharge of his debts, Morrison’s decision to delay the

amendments to Schedule A/B to list the bank accounts and newly purchased vehicle delayed and

endangered Mason’s ability to seek a discharge. Additionally, Morrison’s skill and thoroughness

in the initial drafting of, and amendments to, Mason’s schedules fell below the minimum standard

prescribed in Rule 1.1.




        9
          While Mason did not file a supplement to Form 122A-1 breaking down his income, the total of line 2 is
$1,966.99. Line 12 on Schedule I is also $1,966.99, which includes $1,001 per month on line 8e “Social Security”
income. As these numbers are identical, the Court concludes that the $1,966.99 on line 2 of Form 122A-1 includes
$1,001 of social security income.


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  B. Grady Carden and Upright’s Failure to Provide Competent Representation to James
                             Cain in Case No. 17-32361


        The Court next directs its attention to the case of James Cain, case no. 17-32361, in which

the debtor, Mr. Cain, was represented by Grady E. Carden. Unlike the Tony Mason case, the

failures of Carden and Upright came at the expense of Mr. Cain’s discharge.


                  1. Deficiency of the Pre-Petition Credit Counseling Certificate


        One of the most fundamental hurdles for a prospective consumer debtor in bankruptcy to

clear is the requirement of § 109(h)(1), which states that:

               Subject to paragraphs (2) and (3), and notwithstanding any other
               provision of this section other than paragraph (4) of this subsection,
               an individual may not be a debtor under this title unless such
               individual has, during the 180-day period ending on the date of filing
               of the petition by such individual, received from an approved
               nonprofit budget and credit counseling agency described in section
               111(a) an individual or group briefing (including a briefing
               conducted by telephone or on the Internet) that outlined the
               opportunities for available credit counseling and assisted such
               individual in performing a related budget analysis.

11 U.S.C. § 109(h)(1).

        The only exceptions to the credit counseling requirement are found in § 109(h)(3)-(4), which

state that:

               (3)(A) Subject to subparagraph (B), the requirements of paragraph (1)
               shall not apply with respect to a debtor who submits to the court a
               certification that—
                   (i) describes exigent circumstances that merit a waiver of the
                   requirements of paragraph (1);
                   (ii) states that the debtor requested credit counseling services



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                   from an approved nonprofit budget and credit counseling agency,
                   but was unable to obtain the services referred to in paragraph (1)
                   during the 7-day period beginning on the date on which the
                   debtor made that request; and
                   (iii) is satisfactory to the court.
               (B) With respect to a debtor, an exemption under subparagraph (A)
               shall cease to apply to that debtor on the date on which the debtor
               meets the requirements of paragraph (1), but in no case may the
               exemption apply to that debtor after the date that is 30 days after the
               debtor files a petition, except that the court , for cause, order an
               additional 15 days.
               (4) The requirements of paragraph (1) shall not apply with respect to
               a debtor whom the court determines, after notice and hearing, is
               unable to complete those requirements because of incapacity,
               disability, or active military duty in a military combat zone. For the
               purposes of this paragraph, incapacity means that the debtor is
               impaired by reason of mental illness or mental deficiency so that he
               is incapable of realizing and making rational decisions with respect
               to his financial responsibilities; and ‘disability’ means that the debtor
               is so physically impaired as to be unable after reasonable effort, to
               participate in an in person, telephone, or Internet briefing required
               under paragraph (1).
11 U.S.C. § 109(h)(3)-(4).

       The statues are perfectly clear: an individual debtor must obtain a certificate of credit

counseling within the 180 days preceding a voluntary petition in bankruptcy or show that she either

attempted to obtain such a certificate and was refused or is disabled, incapacitated, or actively

deployed to a combat zone. There is no statutory authority allowing a debtor to complete a credit

counseling course post-petition due to oversight of the debtor or debtor’s counsel.

       When Carden and Upright filed Mr. Cain’s case, Mr. Cain did not have a valid credit

counseling certificate; however, he had in fact completed a qualifying credit counseling course. A

certificate of credit counseling was filed in Mr. Cain’s case on the same day as his chapter 7 petition,


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August 18, 2017; however, the certificate was dated February 8, 2017 – 191 days before Mr. Cain

filed his petition. Case No. 17-32361, Doc. 2. While a debtor in bankruptcy is ultimately

responsible for the contents of his petition, the facts surrounding this case show that Upright and

Carden deserve the majority of the blame for the issues regarding Mr. Cain’s credit counseling

certificate.

        Mr. Cain’s Statement of Financial Affairs shows that he paid his attorney fees and filing fees

over to Upright in installments, with the first installment on August 11, 2016, and the final

installment on January 25, 2017. Case No. 17-32361, Doc. 1. According to his own Statement of

Financial Affairs, Mr. Cain began meeting with Upright more than a year before Upright and Carden

filed a petition on his behalf. Further, Mr. Cain completed his credit counseling program two weeks

after he paid his attorney fees and filing fees in full to Upright.

        Mr. Cain was initially assigned by Upright to Mari Morrison, who signed the retainer

agreement with Mr. Cain. Exhibit 74. Mr. Cain did not sign a retainer agreement with Carden until

February 15, 2018. Exhibit 73. Upright’s records show that Morrison communicated with Mr. Cain

only once, on August 12, 2016, non-attorney staff contacted Mr. Cain four times, and Carden only

spoke with Mr. Cain on July 6, 2017, before emailing a pre-filled copy of the schedules to Mr. Cain

on August 11, 2017, then ultimately filing his case on August 18, 2017. On August 11, 2017, when

Carden emailed Mr. Cain the pre-filled schedules, Mr. Cain’s credit counseling certificate was

already stale, and Carden should have known that. A simple examination of the date on the

certificate should have alerted Carden to the problem, but it did not.

        Unfortunately, Carden did not notice this error, and thus set forth a chain of events that is

still unresolved to this day. After realizing the situation, Carden instructed Mr. Cain to complete


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a second credit counseling course, which Mr. Cain did on August 28, at his own expense. Carden

filed the August 28 credit counseling certificate on August 31. Case No. 17-32361 Doc. 8.

       After the case converted to one under chapter 13 due to unexempt real property, and after

the initial chapter 13 341 Meeting of Creditors was continued, the Bankruptcy Administrator filed

a Motion for Examination of Debtor’s Transactions with Debtor’s Attorney, which noted the stale

and tardy credit counseling certificates in Mr. Cain’s case. Case No. 17-32361 Doc. 33. Soon after,

the Chapter 13 Trustee filed a Motion to Convert Case from Chapter 13 to Chapter 7 because Mr.

Cain had not filed a Chapter 13 Plan and the equity in the real property he jointly owned with his

mother. Case No. 17-32361 Doc. 41.


                               2. Declaration re: Electronic Filing


       Perhaps the most glaring professional error committed by Carden in Mr. Cain’s case involves

Mr. Cain’s Declaration re: Electronic Filing. The Declaration re: Electronic Filing was a document

used in this District to ensure that the Debtor has reviewed her schedules, that the information

contained in the schedules is true and correct, and has authorized her attorney to file her petition,

schedules, amendments, plans, motions, and other documents related to their petition electronically.

The nature of the Declaration clearing indicates that by signing the petition, the Debtor has reviewed

the petition, statements, and schedules, and that those documents are in fact accurate; thus, requiring

the Debtor to sign the Declaration after the petition and other documents are ready to file.

       Unfortunately, Carden did not understand this requirement. He had Mr. Cain execute the

Declaration re Electronic Filing before reviewing the petition, statements, and schedules.




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         [OLEN] Q: All right. Do you see that Exhibit 514 is the declaration
         re: electronic filing in the James Cain case?

         [CARDEN] A: I do. Yes.

         Q: And first the date for his signature and your signature is typed in,
         correct? Typewriten?

         A: Are you talking about at the top for him, or are you talking about
         the signature?

         Q: I’m talking about the date right above the signature, the date right
         –

         A: Oh. Yeah.

         Q: -- Above your signature.

         A: I’m sorry. Yes. The date is typed in.

         Q: Now, you can see that Mr. Cain didn’t put his original signature
         on this declaration, did he? That’s a DocuSign signature, isn’t it?
         Look at it.

         A: Yes. He signed it electronically.

         Q: Did you not understand that this is being signed under penalty of
         perjury, and that he had to put an original signature on it?

         A: Yes. It is supposed to have an original signature. I agree with
         that.

         [...]

         Q: All right. Well, we saw a minute ago that you drafted the petition
         and schedules and e-mailed them to the client on August 11, right?
         You saw that on the time records?

         A: Okay.

         Q: You can look at them if you’d like to verify. You’ll see it.

         A: Yes.


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               Q: So you had James Cain sign under penalty of perjury that he had
               reviewed schedules before you ever put them in his possession, right?

               A: Well, referring back to my prior testimony –

               Q: No. Just answer my question. Answer my question.

               A: Yes. In keeping with my prior testimony he signed it prior to
               seeing the schedules.

Doc. 52 (Transcript of October 29, 2019, Hearing, pp. 78:10-79:5; 79:20-80:8).

       The Declaration re: Electronic filing contained a signature block for both the Debtor and

Debtor’s counsel, in this case, Carden. The purpose of the attorney’s signature is to verify that the

attorney has reviewed the case, that the attorney will provide the Debtor with a copy of all forms and

documents to be filed with the Bankruptcy Court, and in the case of an individual debtor, that the

Debtor has read and signed the Form B121 Statement of Social Security Number. Because Carden

had Mr. Cain sign the declaration before reviewing his petition, statements, and schedules, it seems

Mr. Carden’s signature on the document was also in violation of the declaration’s instructions.

              3. Issues Regarding Real Property and Conversion to Chapter 13


       In his initial schedules, Mr. Cain did not list that he had any interest in real property. On the

day of Mr. Cain’s 341 Meeting of Creditors, he informed Carden, and then the Chapter 7 Trustee,

that his mother had deeded him a one-half interest in her house. Carden filed amendments to

Schedule A/B and C to list Mr. Cain’s one-half interest in his mother’s house and claimed an

exemption for some of the equity. Case No. 17-32361, Docs. 10 & 11, respectively. However, the

Chapter 7 Trustee objected to Mr. Cain’s claim of exemption on his mother’s house because he did




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not qualify for an exemption; the Court sustained Trustee’s objection after the time for -responses

elapsed with no response. Case No. 17-32361, Docs. 15 & 20, respectively.

       To prevent the Chapter 7 Trustee from selling Mr. Cain’s mother’s house, Carden moved to

convert Mr. Cain’s case from Chapter 7 to Chapter 13, which was ultimately granted. Case No. 17-

32361, Doc. 21. At this point, Carden had Mr. Cain complete a third credit counseling course. After

the conversion, Mr. Cain had until February 4, 2018, to file his Form 122C-1 and his Chapter 13

Plan. On February 7, because the forms and plan had not been timely filed, the Chapter 13 Trustee

moved to convert the case back to Chapter 7. Case No. 17-32361, Doc. 41. That day, Carden filed

Mr. Cain’s Form 122C-1 and Chapter 13 Plan. Case No. 17-32361, Docs. 40 & 43, respectively.

       After Carden defeated an Objection to Confirmation filed by the Trustee and amended Cain’s

Chapter 13 Plan, the Court confirmed Cain’s Chapter 13 Plan on March 31, 2018. Case No. 17-

32361, Doc. 78.


               4. Carden’s Improper Handling of the end of Mr. Cain’s Case


       After the confirmation of Mr. Cain’s Chapter 13 Plan, Mr. Cain had cleared the most difficult

hurdle for most debtors. The Trustee’s Objection to Confirmation, while ultimately overruled, did

not seek to dismiss Mr. Cain’s case due to his failure to obtain pre-petition credit counseling.

However, the Bankruptcy Administrator had filed a Motion to Examine Debtor’s Transactions with

Debtor’s Attorney, which did raise the issue, but also did not seek to dismiss Mr. Cain’s case. Case

No. 17-32361, Doc. 33.

       Nevertheless, Carden filed a Motion to Validate for Mr. Cain’s post-petition credit

counseling certificate. Case No. 17-32361, Doc. 90. At the time Carden filed this Motion, Mr. Cain


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had achieved confirmation of his plan and had completed the required financial management course;

he only needed to complete his 36-month plan in order to qualify for a Chapter 13 discharge.

Carden’s filing of the Motion needlessly imperiled Mr. Cain’s bankruptcy protection, and, ultimately

resulted in the dismissal of Mr. Cain’s case. Case No. 17-32361, Doc. 91.

       More shocking still, Carden did not file a new case for Mr. Cain after the dismissal of Mr.

Cain’s Chapter 13 case.        When questioned about this, Carden displayed his complete

misunderstanding of the law with regard to the automatic stay and filing a new case after the

dismissal of a prior case:

               [OLEN] Q: All right. Look at 536. “Order. Debtor filed an amended
               motion to allow for order validating credit counseling--” it says cort
               (sic), I think it means certificate, “nunc pro tunc.” Do you see that?

               [CARDEN] A: I do.

               Q: “Order is clear. Ordered that the motion is denied and this case
               is dismissed.” Do you see that?

               A: I do.

               Q: And this -- once that order was entered the case was dismissed,
               you all could have gone and filed another bankruptcy case for Mr.
               Cain, right?

               A: In that window of time before -- I don’t recall exactly when the
               case was reopened by the bankruptcy administrator, or held open, or
               however you want to say that, there might have been a narrow
               window of time, or some window of time where that would have
               been possible.

               Q: Wait a minute now. Just because the case was being held open
               doesn’t mean you couldn’t file another case for Mr. Cain, does it,
               because –

               A: I don’t know that.




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              Q: I’m sorry?

              A: I don’t know that.

              Q: But you didn’t try, did you?
              A: Tried –

              Q: You didn’t try?

              A: Tried by the method of trying to file a motion to get an order from
              the Court seeking instructions on being able to do so.

              Q: Mr. Carden, did you file another bankruptcy case for James Cain?

              A: I’ve already testified no, I did not.

              Q: Did you try to file another bankruptcy case for James Cain by
              actually submitting the petition to the clerk to see whether they would
              accept it?

              A: Not by submitting the petition to the clerk.

Doc. 52 (Transcript of October 29, 2019, Hearing, pp.93:1-94:10).

       Carden failed to provide competent legal services to Mr. Cain by failing to recognize the

fundamental difference between the dismissal of a bankruptcy case and the closure of the case.

After the dismissal of Mr. Cain’s Chapter 13 case, Carden had two options to ensure that Mr. Cain

regained bankruptcy protection: File an entirely new case or file a Motion to Reconsider Order of

Dismissal. Carden did neither. Carden’s failure to understand Mr. Cain’s current predicament is

best summarized in Carden’s own words:

              [OLEN] Q: What did you tell James Cain about why he didn’t get a
              discharge?

              [CARDEN] A: We had a conversation of the fact that -- of what
              happened with the credit counseling certificate, and of the steps being
              taken to try and solve that. And that the case -- I explained to him
              about the motions we were filing with the case being held open by the


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                 Bankruptcy Administrator’s Office, and that we were attempting to
                 get a ruling from the Court so the case could be closed so we could
                 re-file it. And so I’ve had those conversations as to the -- the overall
                 status and what led to that.

Doc. 52 (Transcript of October 29, 2019, Hearing, p. 105:10-20).


C. Grady Carden and Upright’s Failure to Provide Competent Representation to Clayton
                      and Shirley Cobb in Case No. 17-32876


        The Court next directs its attention to the case of Clayton and Shirley Cobb, case no. 17-

32876, in which the debtors were represented by Grady E. Carden. The failures of Carden in the

Cobb case echo his failures in Mr. Cain’s case, but unlike the Mr. Cain’s case, Carden’s lack of

competent representation has not cost the Cobbs their discharge.10


                   1. Deficiency of the Pre-Petition Credit Counseling Certificate


        Much like Mr. Cain’s case, the credit counseling certificates for the Cobbs were more than

180 days old on their petition date. Both Mr. and Mrs. Cobb completed their credit counseling

course on March 16, 2017; they filed their petition 203 days later on October 5, 2017. Again,

Carden had a duty to review the petition and its components prior to filing. A simple examination

of the certificates would have alerted a competent attorney that the Cobbs’ certificates were stale.

        In the exact same vein as Mr. Cain’s case, the Cobbs completed their credit counseling

program very soon after they finished paying their attorney fees and filing fees to Upright, yet a

significant delay in the filing of their case resulted:



        10
           An Order granting Debtors’ Voluntary Motion to Dismiss was inadvertently entered on March 1, 2019 at
docket entry 65. An Order Reinstating Case was entered on March 4, 2019, at docket entry 67.


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         [OLEN] Q: [ . . . ] All right. Exhibit 568 is a voluntary petition that
         Upright filed for the Cobbs. I want to direct your attention to Page
         37.

         [CARDEN] A: I’m there.
         Q: The date of last payment is February 22, 2017. Correct?

         A: Correct.

         Q: Upright filed this bankruptcy petition for the Cobbs on October
         5, 2017, correct?

         A: Correct.

         Q: Seven-and-a-half month delay, correct?

         A: Correct.

         [...]

         Q: Okay. And then the Cobbs, we’re about to see, they had -- all
         right. I’m going to show you Exhibit 569, 570, 574 and 575. You
         see this is the two sets of credit counseling -- certificates of credit
         counseling for each of the Cobbs?

         A: I do.

         Q: And the first one was invalid because you all waited too long to
         file the bankruptcy case, right?

         A: It was filed out of date in error. That would be correct/

         Q: Would you end up -- in error?

         A: It was filed out of date.

         Q: You said in error?

         A: In an error on my part/

         Q: Well, that was more than an error, wasn’t it? That was an
         egregious act of malpractice, wasn’t it?




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               A: I would not characterize it that way. No.

               Q: It was certainly below the standard of care for a reasonably
               prudent Upright lawyer, isn’t it?

               A: I wouldn’t characterize it that way.

               Q: Oh. You’re -- you don’t think filing a bankruptcy case with a
               stale certificate of credit counseling is below the standard of care?

               A: I would not characterize it that way. No.


Doc. 52 (Transcript of October 29, 2019, Hearing, pp. 98:22-99:7; 100:9-101:5).

       Again, Carden’s failure to review the credit counseling certificates prior to filing the Cobbs’

petition is yet another example of Carden’s failure to provide competent legal services to his clients.


           2. Carden’s Improper Handling of the end of Mr. & Mrs. Cobbs’ Case


       As seen in Mr. Cain’s case, Carden provided Mr. & Mrs. Cain with the misguided advice that

the only way to proceed was to dismiss their Chapter 7 case and file a new case. Just as the Cain

case, however, neither the Chapter 7 Trustee nor the Bankruptcy Administrator had moved to

dismiss the Cobbs’ case due to the credit counseling certificate deficiency. Nonetheless, Carden,

on behalf of the Cobbs, filed a Voluntary Motion to Dismiss their Chapter 7 case on February 27,

2019. Case No 17-32876, Doc. 64. While the Court inadvertently entered an Order Granting the

Cobbs’ Motion on March 1, 2019, it entered an Order Reinstating Case on March 4, 2019, thereby

preventing the Cobbs from needlessly scuttling their financial lifeboat on account of Carden’s

misguided legal advice.




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D. Grady Carden and Upright’s Failure to Provide Competent Representation to Chandra
                            Clark in Case No. 17-32873


        The Court now directs its attention to the case of Chandra Clark, case no. 17-32873, in which

the debtor was represented by Grady E. Carden. The failures of Carden in the Clark case echo his

failures in Mr. Cain’s case, and the Cobb case, but unlike the those cases, Carden’s lack of

competent representation extended beyond Clark’s Chapter 7 discharge.


                1. Deficiency of the Pre-Petition Credit Counseling Certificate


Much like Mr. Cain’s case and the Cobb case, the credit counseling certificate for Clark was than

180 days old on her petition date. Clark completed her credit counseling course on March 7, 2017;

she filed her petition 213 days later on October 5, 2017. Yet again, Carden had a duty to review the

petition and its components prior to filing and failed to exercise his duty. A simple examination of

the certificates would have alerted a competent attorney that Clark’s certificate was stale.

In the exact same fashion as Mr. Cain’s case and the Cobb case, Clark completed her credit

counseling program very soon after she finished paying her attorney fees and filing fees to Upright,

yet again, a significant delay in the filing of their case resulted:

                [OLEN] Q: All right. Exhibit 555. All right. This is the voluntary
                petition that Upright filed for Chandra Clark. Turn to page 36,
                please.

                [CARDEN] A: I’m there.

                Q: The date of last payment was made by Ms. Clark on March 1,
                2017. Correct?

                A: Correct.



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               Q: Upright didn’t file this case until October 5, 2017, correct?

               A: Correct.

               Q: Over seven months later?

               A: Correct.

               Q: Now, Ms. Clark had to file -- had to obtain multiple certificates
               of credit counseling also, correct

               A: She did.

Doc. 52 (Transcript of October 29, 2019, Hearing, pp. 104:15-105:4).

       As was the case in the Cain case and the Cobb case, Carden’s failure to review the credit

counseling certificate prior to filing the Clark’s petition is yet another example of Carden’s failure

to provide competent legal services to his clients.


               2. Carden’s Improper Handling of the end of Ms. Clark’s Case


       As seen in Mr. Cain’s case and the Cobbs’ case, Carden provided Clark with the misguided

advice that the only way to proceed was to dismiss her Chapter 7 case and file a new case. Just as

the Cain case, however, neither the Chapter 7 Trustee nor the Bankruptcy Administrator had moved

to dismiss Clark’s case due to the credit counseling certificate deficiency. However, unlike Mr.

Cain’s case or the Cobbs’ case, by the time Carden gave Clark this incorrect legal advice, Clark had

already received her Chapter 7 discharge in January of 2018. Case No. 17-32873, Doc. 14.

       Despite the entry of discharge, over a year later, Carden, on behalf of Clark, filed a

Voluntary Motion to Dismiss her Chapter 7 case on February 27, 2019. Case No 17-32873, Doc.4

43. While the Court inadvertently entered an Order Granting Clark’s Motion on March 1, 2019, it




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entered an Order Reinstating Case on March 4, 2019, thereby preventing Ms. Clark from needlessly

scuttling destroying or otherwise jeopardizing her discharge.

       At trial, the Court questioned Carden about this bizarre series of events:

               THE COURT Q: Okay. So the case rocked along. I see some
               amendments were filed. A discharge was entered by the Court on
               January 27, 2018. So in this case the client got their Chapter 7
               discharge, January 17 of ’18. I see the B.A. filed a motion for
               examination. One of the several motions that sort of kicked off in
               these proceedings. And about a year later, February of 2019, there
               was a debtor’s motion to dismiss. Why would you file a debtor’s
               motion to dismiss in a Chapter 7 case where you’ve got a discharge?

               THE WITNESS [CARDEN] A: This goes back, Your Honor, where
               these cases were still being open for examination and they were still
               being scrutinized for the -- the certificate of credit counseling being
               out of date, continuing to be told that the method that was attempted
               of cure by getting a subsequent certificate and filing that did not cure
               it after all, and that the problem still existed.

               Q: Right. Right. No, no.

               A: So that was just my attempt to --

               Q: I get that.

               A: -- resolve it.

               Q: The code says to be a debtor, you know, under 109(h), or
               something like that, to be a debtor you’ve got to have a -- this --
               counseling done within six months before the date of the petition. If
               you don’t do it, then theoretically you can’t be a debtor under 109 of
               the Code.
                       And I don’t know if maybe the B.A. didn’t see it, or the
               trustee didn’t notice it until after the discharge was entered, but if the
               debtor got his discharge why would you move to dismiss the case?
               I mean, I’m just -- I'm just unsure as to why you would have done
               that.

               A: My goal all along from the very beginning when this issue came
               up was for the Court to deem the subsequently filed credit counseling


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                certificates to be accepted and that the case would then be discharged
                and/or plan approved and they could continue on with the case.

                Q: Right. But the case was discharged.

                A: I -- I recognize that, Your Honor. And so when the case got
                reopened and it continued to be an issue, I guess that my thinking at
                that point became even thought [sic] they got the discharge, it appears
                as though this is not a settled deal, that we’re still saying that the --
                the discharge is not valid in some way, I guess is the way I was
                looking at it. And so otherwise why continuing to scrutinize that
                particular case and saying that you haven’t satisfied the code as it
                relates to the certificate. And so --

                Q: But in another case you had moved to say, okay, we’ve got a stale
                certificate, why don’t you just accept it anyway? I guess -- I'm just
                troubled that you -- you know, you kind of got away with it here,
                whether -- whether you just kind of snuck it by the trustee and the
                B.A. or maybe they saw it and said, ah, we’re going to file a motion
                and we’re going to give Grady Carden a bad time, but we’re not
                going to penalize -- I'm not sure what the -- what the thought process
                would have been on their part.

Doc. 52 (Transcript of October 29, 2019, Hearing, pp. 157:24-160:2).

        This exchange solidifies the fact that Carden did not appreciate the difference between the

Bankruptcy Administrator’s efforts to examine his transactions with Clark and his other clients and

an effort by the Trustee or the Bankruptcy Administrator to attack debtors’ discharges or status as

debtors. The Motion to Examine was clearly aimed at Carden and Upright, not Clark or any of the

other debtors. The Court finds this as an extreme example of Carden’s failure to provide competent

legal advice to his clients.




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  E. Summary of The Failures of Upright Attorneys to Provide Competent Legal Counsel


         The Court heard seven days of oral testimony, admitted thousands of pages of documents

into evidence, and made written findings on a representative fraction of the number of cases

considered. The practice of law by the Upright lawyers is far below what the Court believes is an

acceptable level. The Court found the attitudes of the Upright lawyers and personnel flippant and

cavalier. The most charitable take on the Alabama lawyers is that they were often disengaged. The

Court believes, based on past experience, that they are capable of practicing at a far greater level

than they demonstrated in the issue-riddled cases brought before the Court over the seven days of

trial.

         The Court believes that Upright’s business model fostered an environment of confusion,

incompetence, and apathy that gave rise to the results the Court observed in the 87 cases examined.

That said, no matter the business model, an Alabama lawyer is always obligated to provide

competent representation to her clients. If the business model under which he is employed does not

allow him the means to provide competent representation, then he is obligated cut ties and seek

another position elsewhere. In one of the few rays of hope gleaned through the seven-day slog of

a trial, the Court saw evidence that a number of Upright cases were filed by Middle District lawyers

who, shortly thereafter, severed their association with Upright altogether.

         Perhaps the biggest issue with Upright’s business model is that non-lawyer staff in Chicago,

hundreds of miles away and with no effective supervision, are practicing law in bankruptcy cases

filed in the Middle District of Alabama. Many consumers who file bankruptcy are looking to save

their homes from foreclosure and are naturally quite stressed and concerned. Unfortunately, some


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turned to Upright.

               [OLEN] Q: Somebody at Upright talking about their
               debtor client who is in danger of losing her home that
               – that’s what the Trustee said, then characterizes that
               as blah, blah, blah. Right?

               [GALLOWAY] A: Yes, they did.

Doc. 49 (Transcript of October 23, 201, Hearing, p. 194:8-20).


                                           V. Sanctions


       In Part III above, the Court determined that the Alabama lawyers are not true partners and

are not regular associates in Upright Law. Rather, Upright Law is engaged in the unlawful practice

of law in the 87 bankruptcy cases identified by the Bankruptcy Administrator. In Part IV above, the

Court finds the Respondents, that is Upright Law and the three named Alabama lawyers, are not

practicing law at a level acceptable to the Court. Having determined this, the Court must next

determine the consequences. The debtors in the 87 identified bankruptcy cases have not been

represented by properly licensed lawyers. The three Alabama lawyers named as Respondents here

have performed some services, but the licensing deficiency may not be papered over by hiring

Alabama lawyers on a contract basis. Moreover, those legal services that have been provided have

largely been provided in a substandard manner.

        Taking these two deficiencies in tandem, the Court determines that all attorney fees paid in

these cases, should be disgorged and returned to the debtors pursuant to § 504(b)(1) as improper fee

sharing and pursuant to § 329(b) and Rule 2016(b) and Rule 2017 as improper fee disclosures.

Upright has made representations to the effect that this has been done. The Court is not aware that




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the Bankruptcy Administrator agrees. Within 14 days of the date of this Memorandum Decision,

the Bankruptcy Administrator shall make a filing with the Court that either (1) she agrees that this

has been done or (2) that she disagrees and that further proceedings shall be held.

       At the close of the evidentiary hearing, counsel for the Complainants requested that a

substantial monetary sanction be imposed. Upright is a “debt relief agency” as defined under §

101(12A), and, as such, must comply with §§ 526 and 707(b)(4)(B), and Rule 9011.

       11 U.S.C. § 526 provides, in relevant part, as follows:

       (a) A debt relief agency shall not--
              (1) fail to perform any service that such agency informed an assisted person
              or prospective assisted person it would provide in connection with a case or
              proceeding under this title;
              (2) make any statement, or counsel or advise any assisted person or
              prospective assisted person to make a statement in a document filed in a case
              or proceeding under this title, that is untrue or misleading, or that upon the
              exercise of reasonable care, should have been known by such agency to be
              untrue or misleading;
              (3) misrepresent to any assisted person or prospective assisted person,
              directly or indirectly, affirmatively or by material omission, with respect to--
                       (A) the services that such agency will provide to such person; or
                       (B) the benefits and risks that may result if such person becomes a
                       debtor in a case under this title; or
              (4) advise an assisted person or prospective assisted person to incur more
              debt in contemplation of such person filing a case under this title or to pay
              an attorney or bankruptcy petition preparer a fee or charge for services
              performed as part of preparing for or representing a debtor in a case under
              this title.

       ***

       (c) (2) Any debt relief agency shall be liable to an assisted person in the amount of
       any fees or charges in connection with providing bankruptcy assistance to such
       person that such debt relief agency has received, for actual damages, and for
       reasonable attorneys' fees and costs if such agency is found, after notice and a
       hearing, to have--
               (A) intentionally or negligently failed to comply with any provision of this
               section, section 527, or section 528 with respect to a case or proceeding


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               under this title for such assisted person;
               (B) provided bankruptcy assistance to an assisted person in a case or
               proceeding under this title that is dismissed or converted to a case under
               another chapter of this title because of such agency's intentional or negligent
               failure to file any required document including those specified in section 521;
               or
               (C) intentionally or negligently disregarded the material requirements of this
               title or the Federal Rules of Bankruptcy Procedure applicable to such agency.

11 U.S.C. §§ 526(a) & (c)(2). Section 526(c)(5) grants the Court the right to enjoin violations or

impose civil penalties for violations of § 526. 11 U.S.C. § 526(c)(5). Furthermore, a court may,

pursuant to § 707(b)(4)(B), assess “an appropriate civil penalty against the attorney for the debtor”

for violations of Rule 9011. 11 U.S.C. § 707(b)(4)(B); FED. R. BANKR. P. Rule 9011; In re White,

No. 16-72114-JHH, 2018 WL 1902491, at *8 (Bankr. N.D. Ala. Apr. 19, 2018), aff'd sub nom. L.

Sols. of Chicago LLC v. Corbett, No. 1:18-CV-00677-AKK, 2019 WL 1125568 (N.D. Ala. Mar. 12,

2019), aff'd, 971 F.3d 1299 (11th Cir. 2020).

       First, Upright was engaged in the unlawful practice of law in this district. Second, the

quality of its practice of law ranges from substandard to abysmal.     Third, it did not appear to have

any intention of stopping it what it was doing until counsel was hired and serious litigation ensued.

At trial, the Court heard hours of testimony regarding Upright’s business model, substandard

practices, and its use of Alabama lawyers to facilitate the Chicago office’s ability to practice law in

this district. The Court finds the Respondents failed to comply with the requirements of § 526 and

made numerous representations to the Court in violation of Rule 9011. Accordingly, the Court finds

a civil penalty of $500,000 is appropriate in this case.

       Pursuant to this Court’s inherent power and its power under § 105, the Court is of the view

that counsel for the Complainants should be awarded attorney’s fees. As noted above, Upright’s




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business model and mishandling of cases in Alabama was on a broad spectrum, as evidenced by the

87 cases identified by the Bankruptcy Administrator. Upright has engaged in scorched earth

litigation here in defense of its policies and practices. Had counsel not been hired and had counsel

not energetically prosecuted these proceedings on behalf of the Bankruptcy Administrator, the

Chapter 13 Trustee, and the Chapter 7 Trustee, there is no reason to believe that Upright would have

ceased its mishandling of cases. Counsel for the Complainants shall file his application for

attorney’s fees within 14 days of the date of this Memorandum Decision. Upright shall file its

response within 14 days of service of the application.

       The Court is of the view that Upright Law, now Deighan Law, is enjoined from further

practice of law in this Court, under any form, until the below described condition is met. In the

event Upright Law seeks to practice law here in the future, whether using local Alabama lawyers

as “partners” or through any other means, it should first contact the Bankruptcy Administrator and

make her aware of its plans. If the Bankruptcy Administrator agrees, they shall submit a joint

motion with the Court to vacate the injunction, setting out the terms of their agreement. If Upright

Law seeks to practice in this Court and cannot reach an agreement with the Bankruptcy

Administator, it shall file a motion with this Court, upon notice to Complainants in this

Miscellaneous Proceeding. The injunction shall remain in effect until the Court acts on the motion.

       As set out in Part IV, the three Alabama lawyers, Mari Morrison, Grady Carden, and Cody

Foote, have been aiding Upright Law in its unauthorized practice of law, lending their licenses and

attempting to paper over deficiencies. None of the three had any authority to direct Upright

personnel in Chicago. Moreover, the level of their practice has not been acceptable. On the other

hand, the Court is aware that there is no controlling authority for the proposition that the Upright


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business model is illegal. At least one Court has determined that Upright is a valid law firm,

contrary to the position taken by the Petitioners here and contrary to this Court’s holding. Deighan

Law, LLC v. Daugherty, 615 B.R. 564 (E.D. Mo. 2020). While the Court has concerns of potential

violations of the Alabama Rules of Professional Conduct, the Court recognizes the Alabama lawyers

relied upon an opinion letter written by a prominent Chicago lawyer who provided an opinion to the

effect that the Upright Law business model was legal and complied with all pertinent rules of ethics.

Upright Exhibit 25, Mary Robinson Letter of Dec. 9, 2015. Even though this Court has come to a

conclusion which differs from that reached in the Robinson letter and Daugherty, the Court concedes

that the reliance of the Alabama lawyers on the opinion letter was reasonable.11 The Court notes an

interesting paragraph on Page 2 of the Robinson letter:

        All three of us have seen lawyers attempt business models designed to provide legal
        services in high volume areas of practice, where the focus on profits and the
        prominence of nonlawyer participation has resulted in poor to dismal service to
        clients, and our review of Upright’s model was guided by the lessons learned through
        that experience.

Upright Exhibit 25. If Ms. Robinson had observed what this Court has observed, she might change

her opinion. This Court is dismayed by what it has observed. “Poor to dismal service to clients”

is an accurate description of what was observed here.

        Upright takes 75-80% of the fee and does an indeterminate amount of work, not under the

supervision of the Alabama lawyer who receive only 20-25% of the fee, yet all of the responsibility.

It appears that the Alabama lawyers taking the cases, in some cases, attempted to cut corners, with

sometimes disastrous results. The undersigned has not seen any of the three Alabama lawyers, nor

        11
            The Court notes that its decision is based upon a one-week trial where witnesses were heard in open court
subject to cross examination. The decision in Daugherty was based upon stipulated facts and the opinion letter was
based upon assumed facts, which did not bear out the reality observed by this Court in the context of 87 actual
bankruptcy cases with real debtors.


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anyone else purporting to represent Upright in this Court since the trial. The three Alabama lawyers

testified at the trial and appear to been embarrassed and chagrined at their experience and do not

appear to be inclined to return in any representative capacity for Upright. Nevertheless, the Court

finds Mari Morrison, Grady Carden, and Cody Foote shall each complete 15 hours of continuing

legal education in consumer bankruptcy law and shall file in this Miscellaneous Proceeding a notice

upon completion of the CLE requirement.


                                         VI. Conclusion


       Upright contends that it is a legitimate law firm, that its Alabama lawyers are true partners

in the firm and that the Bankruptcy Administrator and Trustees, Wilkins and McKinney are making

much ado about nothing when it comes to operational errors, some of which are found in any

consumer bankruptcy practice.

       Blah, blah, blah . . . .

       The Court imposes sanctions as set out in Part V above. The Court will enter an order as a

separate order.

       Done this 4th day of March, 2022.




                                                           William R. Sawyer
                                                           United States Bankruptcy Judge




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c:       Charles A. Armgardt
         Deighan Law LLC f/k/a Law Solutions Chicago, LLC d/b/a Upright Law, LLC and
         Upright Law
         Upright Law LLC
         Mari Morrison
         Grady Carden
         Cody Foote
         Danielle K. Greco, Bankruptcy Administrator
         Sabrina L. McKinney, Chapter 13 Trustee
         Carly B. Wilkins, Chapter 7 Trustee
         Steve Olen, Attorney for Trustee




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                              APPENDIX
        No.      Case No.       Debtor(s)
        1        14-32946       Clark & Victoria Sechler
        2        14-80964       Shaun & Christina Lewis
        3        15-10878       Jonathan & Cynthia Grice
        4        15-80272       Franklin & Jeanne Reed
        5        15-30919       Rufus & Sharon Cotton
        6        16-30118       Maria Miller
        7        16-31433       Jerry Moomey
        8        16-31535       Ricky & Deborah Stinson
        9        16-32020       Mark & Teresa Deuschle
        10       16-33607       Robert & Phyllis Wilson
        11       16-80048       Bernadino Arroyo
        12       16-80049       Mark Adams
        13       16-80089       Mary Allen
        14       16-80141       Ellen Yates
        15       16-80947       Rodney & Quacheryl Pugh
        16       16-81040       Michael Miller
        17       16-81072       Zachary & Kaitland Causland
        18       16-81102       Benjamin Kinsman
        19       16-81169       Bacle Fowler, II
        20       16-81370       Louise Mullgrav-Vines
        21       16-81413       Caroline Stevens
        22       16-81544       Bryan Jordan & Lacy Thrower
        23       16-81572       Ian Willett
        24       16-81585       Robbie Kellum
        25       17-11726       Mary McKinnes
        26       17-12128       Paul Pollan
        27       17-12372       Letitia Pate
        28       17-12375       Xavier Thomas
        29       17-30048       Joseph Andreas
        30       17-30132       Tony Mason
        31       17-32361       James Cain
        32       17-32767       Rickey Jackson
        33       17-32842       Linda Bell
        34       17-32873       Chandra Clark
        35       17-32876       Clayton Cobb, Jr. & Shirley Cobb
        36       17-33347       Joseph White
        37       17-33353       Stacey Ross
        38       17-33520       James Lewis
        39       17-33530       Valerie Bowden
        40       17-80037       Jack Taylor
        41       17-80221       Brytne Smith
        42       17-80243       Christopher Culverhouse
        43       17-80327       Laura Graham


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        44       17-80387       James Patterson
        45       17-80425       Norman Darden
        46       18-80440       Jasmine Woods
        47       17-80469       Jared & Amy Goertzen
        48       17-80525       Delois Pogue
        49       17-80533       Debbie King
        50       17-80547       Sydelle Story
        51       17-80563       Donna Hill
        52       17-80566       Terrell & Kathleen Atkins
        53       17-80604       James & Bridgett Allred
        54       17-80639       Harvey Morse, III & Heather Morse
        55       17-80736       Michael & Neva Roundtree
        56       17-80758       Iva Anglin
        57       17-80776       Sandra Warren
        58       17-80801       Monica McFry
        59       17-80812       Michael Gregory
        60       17-81018       Tanya Mays
        61       17-81087       Mae Hicks
        62       17-81163       Derrick Echols
        63       17-81207       Lauren Wampler
        64       17-81278       Patty Williams
        65       17-81465       Kimberly Smith
        66       17-81496       Matthew & Mandy Black
        67       17-81508       Joella Newsome
        68       17-81667       David Nelams
        69       18-10239       Christopher Merritt
        70       18-10263       Marsha Smith
        71       18-10266       Barbara Owens
        72       18-31024       Jeremy Wallace
        73       18-31251       Randall Cleckler
        74       18-80088       Candice Ousley
        75       18-80160       Roy Whistle
        76       18-80227       David Lilly
        77       18-80285       Ashley Battle
        78       18-80392       Andrew Newton
        79       18-80509       Jessica Boyd
        80       18-80534       Valorie Motley
        81       18-80648       Paul Smith, Jr. & Annie Smith
        82       18-80708       Mickey Stoneback
        83       18-80803       Sylvia Willhite
        84       18-80919       Shandricka Calloway
        85       18-81003       Tasneem Mohamed
        86       18-81343       Shelby Chatman, Jr. & Amanda Chatman
        87       18-32711       William Liver & Lisa Miller


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